     Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 1 of 101



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15
                                 UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18
     ORACLE AMERICA, INC.                       Case No. 3:10-cv-03561-WHA
19

20                 Plaintiff,                   DECLARATION OF
                                                TRUMAN FENTON
21          v.
                                                Dept.: Courtroom 9, 19th Floor
22   GOOGLE INC.
                                                Judge: Honorable William Alsup
23                 Defendant.
24                                              Tutorial: April 6, 2011, 1:30 p.m.

25                                              Hearing: April 20, 2011, 1:30 p.m.

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     DECLARATION OF TRUMAN FENTON                                       CIVIL ACTION No. CV 10-03561
     Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 2 of 101



 1          I, Truman Fenton, hereby declare and state as follows:
 2          1.      I am an attorney with the law firm of King & Spalding LLP, which is counsel of
 3
     record for Google Inc. I have personal knowledge of the facts set forth in this declaration unless
 4
     otherwise noted, and, if called to do so, I could and would competently testify thereto.
 5
            2.      Exhibit A is a true and correct copy of U.S. Patent No. 7,213,240 obtained from
 6
     an online patent database.
 7
            3.      Exhibit B-1 is a true and correct copy of pages excerpted from the uncertified file
 8

 9   history of U.S. Patent No. 5,367,685 that was produced by Oracle America, Inc. (“Oracle”) with

10   document numbers OAGOOGLE0000057167–254.

11          4.      Exhibit B-2 is a true and correct copy of pages excerpted from the uncertified file
12   history of U.S. Patent No. RE36,204 that was produced by Oracle with document numbers
13   OAGOOGLE0000059190–351.
14
            5.      Exhibit B-3 is a true and correct copy of pages excerpted from the uncertified file
15
     history of U.S. Patent No. RE38,104 that was produced by Oracle with document numbers
16
     OAGOOGLE0000059352–570.
17
            6.      Exhibit B-4 is a true and correct copy of pages excerpted from the uncertified file
18
19 history of U.S. Patent No. 6,061,520 that was produced by Oracle with document numbers
20   OAGOOGLE0000057445–662.

21          7.      Exhibit C is a table I prepared citing portions of patents issued to Sun

22 Microsystems based on applications filed around the same time as the patents in suit. The

23 quotations are of the text of the patents available at the U.S. Patent and Trademark Office’s

24
     website.
25
            8.      Exhibit D is a true and correct copy of a letter published in the U.S. Patent and
26
     Trademark Office Official Gazette and obtained from that website at the following web address:
27

28


     DECLARATION OF TRUMAN FENTON                                               CIVIL ACTION No. CV 10-03561
     Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 3 of 101



 1   http://www.uspto.gov/web/offices/com/sol/og/2010/week08/TOC.htm.
 2          9.      Exhibit E is a true and correct copy of an article written by R. Nigel Horspool and
 3
     Jason Corless that was obtained from Pennsylvania State University’s online research library,
 4
     CiteSeer.
 5
            10.     Exhibit F is document I prepared containing a partial summary of the prosecution
 6
     history of U.S. Patent No. RE38,104 (and its family). The portions summarized identify the
 7
     earliest references in each application of the family in which the term “computer-readable
 8

 9   medium” was used.

10          I declare under penalty of perjury under the laws of the United States of America that the

11   foregoing is true and correct and that this declaration was executed this 17th day of March, 2011,
12   in Austin, Texas.
13

14
            Dated: March 17, 2011
15

16

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                                                         ______________________
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                                                         Truman Fenton
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     DECLARATION OF TRUMAN FENTON                                              CIVIL ACTION No. CV 10-03561
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 4 of 101




                      Exhibit A
           Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 5 of 101
                                                                                             111111           1111111111111111111111111111111111111111111111111111111111111
                                                                                                                                US007213240B2


(12)   United States Patent                                                                            (10)   Patent No.:     US 7,213,240 B2
       Wong et al.                                                                                     (45)   Date of Patent:      May 1, 2007

(54)    PLATFORM-INDEPENDENT SELECTIVE                                                                     6,081,665   A    *     6/2000   Nilsen et al. ............... 717/116
        AHEAD-OF-TIME COMPILATION                                                                          6,110,226   A          8/2000   Bothner
                                                                                                           6,158,048   A         12/2000   Luch et al.
(75)    Inventors: Hinkmond Wong, Sunnyvale, CA                                                            6,289,506   Bl   *     9/2001   Kwong et al. .............. 717/148
                   (US); Nedim Fresko, San Francisco,                                                                   OTHER PUBLICATIONS
                   CA (US); Mark Lam, Milpitas, CA
                   (US)                                                                             Andrew P. Black, "Supporting Distributed Applications: Experience
                                                                                                    with Eden", Department of Computer Science, University of Wash-
                                                                                                    ington, Technical Report 85-03-02, Mar. 1985, pp. 1-21.
(73)    Assignee: Sun Microsystems, Inc., Menlo Park,
                                                                                                    Andrew P. Black, "The Eden Programming Language", Department
                  CA (US)
                                                                                                    of Computer Science, FR-35, University of Washington, Technical
                                                                                                    Report 85-09-01, Sep. 1985 (Revised, Dec. 1985), pp. 1-19.
( *)    Notice:        Subject to any disclaimer, the tenn of this
                       patent is extended or adjusted under 35                                                                     (Continued)
                       U.S.c. 154(b) by 348 days.
                                                                                                    Primary Examiner-Tuan Dam
(21)    Appl. No.: 09/970,661                                                                       Assistant Examiner-Andre R Fowlkes
                                                                                                    (74) Attorney, Agent, or Firm-Finnegan, Henderson,
(22)    Filed:         Oct. 5, 2001                                                                 Farabow, Garrett & Dunner LLP

(65)                       Prior Publication Data                                                   (57)                          ABSTRACT

        US 2003/0070161 Al                 Apr. 10, 2003                                            Methods and systems for platform-independent selective
                                                                                                    ahead-of-time compilation are herein described. A method
(51)    Int. Cl.                                                                                    selector comprising a profiling tool and heuristic selects a
        G06F 9/45                   (2006.01)                                                       subset of methods for ahead-of-time compilation. The pro-
(52)    U.S. Cl. ...................................................... 7171148                     filing tool ranks a set of methods according to predetermined
(58)    Field of Classification Search ................ 717/139,                                    criteria, and the heuristic identifies the subset of methods
                           7171146-148,151,153,154; 706/52                                          from the set of methods. An ahead-of-time compiler com-
        See application file for complete search history.                                           prises a first unit and a second unit. The first unit converts,
                                                                                                    for each selected method, bytecodes corresponding to the
(56)                       References Cited                                                         selected method to a platfonn-independent intermediate
                   U.S. PATENT DOCUMENTS                                                            representation. The second unit optimizes the platform-
                                                                                                    independent intermediate representation of each selected
       4,638,298   A        111987     Spiro                                                        method, wherein each optimized intennediate representation
       5,276,881   A        111994     Chan et al.                                                  is stored with a corresponding selected method. A virtual
       5,280,613   A        111994     Chan et al.                                                  machine on a device converts an optimized intermediate
       5,339,419   A        811994     Chan et al.
                                                                                                    representation associated with a selected method loaded
       5,812,854   A   *    911998     Steinmetz et al. .......... 717/159
       5,920,720   A   *    711999     Toutonghi et al ........... 717/148
                                                                                                    onto the device to platform-dependent machine code.
       5,966,542   A       1011999     Tock
       5,966,702   A       1011999     Fresko et al.                                                                60 Claims, 10 Drawing Sheets

                                                    802




                                                                                              814

                                                                       Does
                                                                  Method Have           No
                                                                 A Pre-Computed
                                                                        IR?

                                                          806




                                                          808   '---,--~




                                                          810 ' - - - . . , - - - - "




                                                          812

                                                                     AnyMore
                                                                    Methods To
                                                                      Check?
         Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 6 of 101


                                                      US 7,213,240 B2
                                                               Page 2


                 OTHER PUBLICATIONS                                 Calton Pu, "Replication and Nested Transactions in the Eden
                                                                    Distributed System", Doctoral Dissertation, University of Washing-
Andrew P. Black, "The Eden Project: Overview and Experiences",
                                                                    ton, Aug. 6, 1986, pp. 1-179 (1 page Vita).
Department of Computer Science, University of Washington,
EUUG, Autumn '86 Conference Proceedings, Manchester, UK,            USPTO Office Action mailed Aug. 16, 2004 in related U.S. App\.
Sep. 22-25, 1986, pp. 177-189.                                      No. 10/455,341.
Andrew P. Black, Edward D. Lazowska, Jerre D. Noe and Jan
Sanislo, "The Eden Project: A Final Report", Department of Com-
puter Science, University of Washington, Technical Report 86-11-
01, Nov. 1986, pp. 1-28.                                            * cited by examiner
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 7 of 101


u.s. Patent                        May 1, 2007      Sheet 1 of 10               US 7,213,240 B2




    r
 10 2
                    Host                   120
                                                                                    110

 12 2--- t.....--     Operating System
                                                                    CPU         V
 124-'" '-L.--              Compiler                                                112

 126-'" It-                Source Code
                                                                 Secondary
                                                                  Storage
                                                                                V
 128 ....   r- Class File Repository                                                114
 130- h I---                 Class Files                         Input Device   V
 132- h I---                Optimized IR

 134 . . l..---       Class Preloader                                               116

 136 .... h---
                       Ahead -of-Ti me                             Display      V
                         Compiler


 138 . .    r--       Method Selector                                                   118
                                                             Communications
                                                                Device
                                                                                V


                      108
                                                  y
                                              Network
                                                                                Device


                                                                                    •
                                                                                              -




                                                                                    •


                                   ~~~
                                                                                    •

                                                                                Device        I--




                                Server      • • •       Server

            104a                           104n                                         FIG. 1
       Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 8 of 101


u.s. Patent                            May 1, 2007        Sheet 2 of 10               US 7,213,240 B2



                                                     TofF rom Host 102




    ~                   Device
                                                  ~12                                        202
106a
                                                                            CPU         V
   2 14 -- L..--            Operating System


   2 16-- IL---                    Browser                                                   204

   2 18 -- 'L--
                                                                          Secondary
                                                                           Storage
                                                                                       V
                         Class File Repository

                                Preloaded Class
  21 9 -IL-I -                                                                               206
                                      Files
                               Dynamically
                                                                    Communications
                                                                       Device
                                                                                        V
  22 O- IL-             -   Loaded Class Files

    222--- tL--                 Virtual Machine                                              208
                                 Preloaded Class
                                                                            Input
                                                                           Device
                                                                                        V
   2 24-- i--l

                        ----
                        -----          Files
              1--1
   2 26-                           JIT Compiler
              1--1                                                                           210
   228-                             Interpreter
                                Runtime Class
                                                                           Display      V
   230 ...... 1....--              Loader




                                                     To/From Network 108




                                                        FIG.2A
     Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 9 of 101


u.s. Patent                  May 1, 2007         Sheet 3 of 10               US 7,213,240 B2




    ;J           Server                    242
 104a                                                                                232
                                                                    CPU          ~
  24 4-- rt.-      Operating System


  24 6-- ~                Compiler                                                   234
                                                                 Secondary
                                                                  Storage
                                                                                 f
  24 8-- [L.--         Source Code


  25 0--   r- Class File Repository                                                  236
  25 2- ~
  254- h
                 --       Class Files
                        Optimized IR
                                                                 Input Device    v5
  25 6--h-            Class Preloader                                                238
                                                                   Display       V
                                                                                      240
                                                             Communications
                                                                Device
                                                                                 /



                                        To/From Network 108




                                            FIG. 28
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 10 of 101


u.s. Patent              May 1, 2007          Sheet 4 of 10                          US 7,213,240 B2



      302                                                               306
                     Host
                                       Java Source Code

                                                                       308
                                         Java Compiler


                                                                       310
                                            Class Files
                                                                        312


                                                                        314


                                                                        316


                                                                        318
                                           Class Files &
  To Server
                                           Optimized IR
                                                                                     322


                                                               Class
                                                             Preloader


     304

               320
      Device                Runtime Class                                             326
                               Loader
                                                          Preloaded Class
              324                                               Files



        328
                 330                          33\ I
                     ~      JIT Compiler      I It-.__      In_t_er_p_re_te_r_---l

        334                         Java Virtual Machine
                                       Operating System

                                                FIG. 3
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 11 of 101


u.s. Patent         May 1, 2007         Sheet 5 of 10         US 7,213,240 B2



                     404            Bytecodes


                                                        406
                                  Method Selector

                                                        408
     402                       Selected Bytcodes


              Ahead-of-time Compiler

                                                        410
                                 8ytecode To
                               IR transformation



                                                        412
                                         IR




                                                        414
                                  IR Optimization




                                                        416
                                   Optimized IR




                                                        418
                                       Storage




                                       FIG.4A
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 12 of 101


u.s. Patent       May 1, 2007       Sheet 6 of 10       US 7,213,240 B2




 406
       ~
        Method Selector


                                                    V   420
                                Profiling Tool




                                                    V   422
                                  Heuristic




                                FIG. 48
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 13 of 101


u.s. Patent       May 1, 2007        Sheet 7 of 10                 US 7,213,240 B2


                                                              502
                      Identify Methods To               ~
                      Be Compiled Offline




                                                               504

                   For Each Identified Method
                                                        ~
                                                        __ 50 6
                     Convert Bytecodes To       L.---
                  Intermediate Representation




                                                               508
                                 r
                   For Each Identified Method
                                                        ~
                                                        V   51 o
                     Optimize Intermediate
                                                V"'"
                        Representation




                                                               512
                                                        ~
                                 ~




                   For Each Identified Method
                                                        ~ 51 4
                       Store Optimized IR
                     Alongside The Method       ----




                                FIG. 5
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 14 of 101


u.s. Patent       May 1, 2007     Sheet 8 of 10       US 7,213,240 B2


     600

                                                        602
                      Method Name
                                                        604
                       Parameters
                                                        606
                       Return Type
                                                        608
                          Flags
                                                        610
                            IR



                                                        612
                        8ytecodes




                         FIG. 6
    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 15 of 101


u.s. Patent        May 1, 2007     Sheet 9 of 10              US 7,213,240 B2




                                     700
  702
                                                      Code Attribute
  704           Method Name
                                                                       15   712
  706            Parameters                            Bytecode
                                                   '---------'
                                                                       r
  708            Return Type
                                                   Compiler IR Attribute
  710             Attributes


                    Flags
                                                   L -_ _  'R
                                                            __     .......J( 714




                                 FIG. 7
   Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 16 of 101


u.s. Patent              May 1, 2007         Sheet 10 of 10             US 7,213,240 B2



  802

                Access Method
              Descriptor Of Method
                 To Be Called


                                              814
        804
                     Does
                                                        IsJIT
                 Method Have           No                                    No
                                                      Compilation
                A Pre-Computed
                                                       Available
                      IR?
                                                                      820
        806                                   816
                                                              Yes
                         Yes

                                                                              Interpret
                                                       Is Method
                   Pass IR To                                           No     Method
                                                       Worthy Of
                  J1T Compiler                                                Without
                                                      Compilation
                                                                             Compilation
        808                                 818
                                                              Yes

              Complete Compilation
                                                     Compile Method
                  Of Method
        810




               Continue Execution




        812

   Yes             Any More
                  Methods To
                    Check?


                          No


                      END
                                                  FIG. 8
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 17 of 101


                                                     US 7,213,240 B2
                               1                                                                     2
      PLATFORM-INDEPENDENT SELECTIVE                                    being used. By use of platform-independent bytecode and
         AHEAD-OF-TIME COMPILATION                                      the Java VM, a program written in the Java language can be
                                                                        executed on any computer system. This is particularly useful
                RELATED APPLICATIONS                                    in networks such as the Internet that interconnect heteroge-
                                                                        neous computer systems.
   The following identified U.S. patent applications are                   Interpreting bytecodes, however, make Java programs
relied upon and are incorporated by reference in this appli-            many times slower than comparable C or C++ programs.
cation.                                                                 One approach to improving this performance is just-in-time
   U.S. patent application Ser. No. 09/131,686, entitled                (JIT) compilers. A JIT compiler is a compiler running as part
"METHOD AND SYSTEM FOR LOADING CLASSES IN                          10   of a Java virtual machine that dynamically translates byte-
READ-ONLY MEMORY," filed Aug. 10, 1998, now U.S.                        code to machine code just before a method is first executed.
Pat. No. 5,966,542.                                                     This can provide substantial speed-up over a system that just
                                                                        interprets bytecodes. A JIT compilation typically consists of
               FIELD OF THE INVENTION                                   a few phases executed in the following order: 1) byte-codes
                                                                   15   are converted to a platform-independent intermediate rep-
   The present invention relates generally to data processing           resentation (IR); 2) the IR is transformed to an optimized IR
systems and, more particularly, to platform-independent                 using compiler optimization techniques; 3) the IR is con-
selective ahead-of-time compilation.                                    verted to platform-dependent machine code.
                                                                           Java virtual machine implementations are becoming very
            BACKGROUND AND MATERIAL                                20   popular on devices with limited CPU and memory
                  INFORMATION                                           resources. On such devices, the above JIT compilation
                                                                        process has a few drawbacks. For example, the memory
   In today's society, the Internet has become an important             requirements of the compilation process may be prohibitive,
medium for information exchange. Although the Internet is               because each of the stages has runtime memory require-
now very popular among the general public, it initially            25   ments which may be excessive on a limited-resource device.
began as a system (or network) of interconnected computers              Also, the memory requirements of storing each method's
used by govemment and academic researchers. An early                    translation may be prohibitive. Therefore, JIT's on such
problem of this network stemmed from the fact that the                  devices will have to make decisions on which methods are
interconnected computers were not the same; they employed               really worthy of compilation, and will have to handle only
different hardware as well as different operating systems.         30   those. In addition, some translations will have to be dis-
Information exchange on such a heterogeneous network                    carded to make room for new ones. This results in slower
posed a communication problem. This problem was                         execution because re-translating is costly.
resolved through agreement on common standards, includ-                    Another drawback is that runtime handling of byte-code
ing protocols such as Transmission Control Protocol/Inter-              to IR transformation and IR optimization may result in large
net Protocol (TCP/IP) and HyperText Transfer Protocol              35   compiler code sizes. Dynamic method selection online is
(HTTP). These protocols enabled varied interconnected                   also costly in terms of compiler code size.
machines to share information in the form of static text or                Yet another drawback is that due to lower processing
graphic documents.                                                      power on a limited resource machine, the optimization phase
   These protocols, however, represented only two steps in              carmot do much work without slowing down user program
the evolution of the Internet. Although users can exchange         40   execution considerably.
information documents among varied computers connected                     Accordingly, there is a need for a system and method for
to the Internet, they cannot exchange executable application            byte code compilation that is less memory intensive, results
programs written in conventional languages such as C or                 in faster compilation and execution, and reduces re-compi-
C++, which are designed to interface with a particular                  lation cost.
processor (e.g., the Intel Pentium™ processor) and/or a            45
particular operating system (e.g., Windows 95™ or DOS).                            SUMMARY OF THE INVENTION
This problem was solved with the advent of the Java™
programming language and its related runtime system.                       Methods and systems consistent with the principles of the
   Java is an object-oriented programming language that is              invention enable platform-independent selective ahead-of-
described, for example, in a text entitled "The Java™              50   time compilation. A method selector selects a subset of
Tutorial" by Mary Campione and Kathy Walrath, Addison-                  methods for ahead-of-time compilation. An ahead-of-time
Wesley, 1996. Importantly, Java is an interpreted language              compiler comprises a first unit and a second unit. The first
that is platform-independent-that is, its utility is not limited        unit converts, for each selected method, bytecodes corre-
to one particular computer system. Using the Java program-              sponding to the selected method to a platform-independent
ming language, a software developer writes programs in a           55   intermediate representation. The second unit optimizes the
form commonly called Java source code. When the devel-                  platform-independent intermediate representation of each
oper completes authoring the program, he then compiles it               selected method, wherein each optimized intermediate rep-
with a Java compiler into an intermediate form called                   resentation is stored as one of a field of a corresponding
bytecode. Both the Java source code and the bytecode are                method descriptor data structure and an attribute of the
platform-independent.                                              60   corresponding method descriptor data structure.
   The compiled bytecode can then be executed on any                       Other methods and systems consistent with the principles
computer system that employs a compatible runtime system                of the invention enable platform-independent selective
that includes a virtual machine (VM) , such as the Java                 ahead-of-time compilation. A method selector comprising a
virtual machine described in a text entitled "The Java Virtual          profiling tool and heuristic selects a subset of methods for
Machine Specification," by Tim Lindholm and Frank Yellin,          65   ahead-of-time compilation. The profiling tool ranks a set of
Addison Wesley, 1996. The Java VM acts as an interpreter                methods according to predetermined criteria, and the heu-
between the bytecode and the particular computer system                 ristic identifies the subset of methods from the set of
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 18 of 101


                                                   US 7,213,240 B2
                             3                                                                     4
methods. An ahead-of-time compiler comprises a first unit               Other methods and systems consistent with the principles
and a second unit. The first unit converts, for each selected        of the invention also enable platform-independent selective
method, bytecodes corresponding to the selected method to            ahead-of-time compilation. A virtual machine on a device
a platfonn-independent intennediate representation. The              receives at least one method, wherein the method is from a
second unit optimizes the platfonn-independent intennedi-            subset of methods selected for ahead-of-time compilation,
ate representation of each selected method, wherein each             and wherein bytecodes corresponding to each selected
optimized intennediate representation is stored with a cor-          method are converted to a platform-independent intermedi-
responding selected method.                                          ate representation, the platform-independent intermediate
   Other methods and systems consistent with the principles          representation of each selected method is optimized, and
of the invention also enable platform-independent selective     10   each optimized platform-independent intermediate repre-
ahead-of-time compilation. A method selector comprising a            sentation is stored with a corresponding selected method. An
profiling tool and heuristic selects a subset of methods for         interpreter accesses a method descriptor data structure of a
ahead-of-time compilation. The profiling tool ranks a set of         method about to be called, and determines whether the
methods according to predetermined criteria, and the heu-            method descriptor data structure has an optimized platform-
ristic identifies the subset of methods from the set of         15   independent intermediate representation associated with it.
methods. An ahead-of-time compiler comprises a first unit            Ajust-in-time compiler converts the optimized intermediate
and a second unit. The first unit converts, for each selected        representation associated with the method about to be called
method, bytecodes corresponding to the selected method to            to platform-dependent machine code based on a determina-
a platfonn-independent intennediate representation. The              tion that the method descriptor data structure has an opti-
second unit optimizes the platfonn-independent intennedi-       20   mized platfonn-independent intermediate representation
ate representation of each selected method, wherein each             associated with it.
optimized intennediate representation is stored with a cor-
responding selected method. A class preloader may load,                    BRIEF DESCRIPTION OF THE DRAWINGS
prior to runtime, at least one of the selected methods onto a
device for execution. A dynamic class loader may load,          25      The accompanying drawings are incorporated in and
during runtime, at least one of the selected methods onto the        constitute a part of this specification and, together with the
device for execution. A virtual machine on the device may            description, explain the features and principles of the inven-
receive at least one method from one of the class preloader          tion. In the drawings:
and dynamic class loader. An interpreter accesses a method              FIG. 1 is a diagram of an exemplary network environment
descriptor data structure of a method about to be called, and   30
                                                                     in which features and aspects consistent with the present
determines whether the method descriptor data structure has          invention may be implemented;
an optimized platfonn-independent intennediate represen-
                                                                        FIG. 2A is a diagram of a device consistent with the
tation associated with it. A just-in-time compiler converts
                                                                     present invention;
the optimized intennediate representation associated with
the method about to be called to platform-dependent             35
                                                                        FIG. 2B is a diagram of a server consistent with the
machine code based on a determination that the method                present invention;
descriptor data structure has an optimized platform-indepen-            FIG. 3 is a diagram showing the dataflow involved in
dent intermediate representation associated with it.                 platform-independent selective ahead-of-time compilation
   Other methods and systems consistent with the principles          consistent with the present invention;
of the invention also enable platform-independent selective     40      FIG. 4A is a diagram showing the dataflow involved in the
ahead-of-time compilation. A method selector selects a               operation of an ahead-of-time compiler consistent with the
subset of methods for ahead-of-time compilation. An ahead-           present invention;
of-time compiler comprises a first unit and a second unit.              FIG. 4B is a diagram of a method selector consistent with
The first unit converts, for each selected method, bytecodes         the present invention;
corresponding to the selected method to a platform-inde-        45      FIG. 5 is an exemplary flowchart of a method for com-
pendent intermediate representation. The second unit opti-           piling methods ahead-of-time consistent with the present
mizes the platform-independent intennediate representation           invention;
of each selected method, wherein each optimized intenne-                FIG. 6 is a diagram of a method descriptor with an
diate representation is stored as one of a field of a corre-         optimized IR stored as a field consistent with the present
sponding method descriptor data structure and an attribute of   50
                                                                     invention;
the corresponding method descriptor data structure. A class
                                                                        FIG. 7 is a diagram of a method descriptor and related
preloader may load, prior to runtime, at least one of the
                                                                     attributes for use in dynamic class loading consistent with
selected methods onto a device for execution. A dynamic
                                                                     the present invention; and
class loader may load, during runtime, at least one of the
selected methods onto the device for execution. A virtual       55      FIG. 8 is an exemplary flowchart for executing processes
machine on the device may receive at least one method from           consistent with the present invention.
one of the class preloader and dynamic class loader. An
interpreter accesses a method descriptor data structure of a                        DETAILED DESCRIPTION
method about to be called, and determines whether the
method descriptor data structure has an optimized platform-     60      The following detailed description of the invention refers
independent intermediate representation associated with it.          to the accompanying drawings. While the description
Ajust-in-time compiler converts the optimized intermediate           includes exemplary implementations, other implementations
representation associated with the method about to be called         are possible, and changes may be made to the implementa-
to platform-dependent machine code based on a detennina-             tions described without departing from the spirit and scope
tion that the method descriptor data structure has an opti-     65   of the invention. The following detailed description does not
mized platfonn-independent intennediate representation               limit the invention. Instead, the scope of the invention is
associated with it.                                                  defined by the appended claims and their equivalents.
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 19 of 101


                                                     US 7,213,240 B2
                              5                                                                      6
                          Overview                                     intermediate representations (IR) 132, class preloader 134,
                                                                       ahead-of-time compiler 136, and method selector 138. An IR
    Methods and systems consistent with the principles of the          may be platfonn independent, system architecture neutral
invention enable platfonn-independent selective ahead-of-              data which is processed from source code to a fonnat that
time compilation. A method selector comprising a profiling             can be quickly processed into efficient, optimized machine
tool and heuristic select a subset of methods for ahead-of-            dependent code at some future time.
time compilation. The profiling tool ranks a set of methods               Compiler 124 translates source code into class files that
according to predetermined criteria, and the heuristic iden-           contain bytecodes executable by a virtual machine. Source
tifies the subset of methods from the set of methods. An               code 126 may be files containing code written in the Java
ahead-of-time compiler comprises a first unit and a second        10   programming language. Class file repository 128 includes
unit. The first unit converts, for each selected method,               class files 130 and optimized IR 132. Class files 130 are
bytecodes corresponding to the selected method to a plat-              bytecodes executable by a virtual machine and contain data
form-independent intermediate representation. The second               representing a particular class, including data structures,
unit optimizes the platform-independent intennediate rep-              method implementations, and references to other classes.
resentation of each selected method, wherein each optimized       15   Optimized IR 132 are platform-independent intermediate
intermediate representation is stored with a corresponding             representations that have been optimized using common
selected method. A class preloader is operable to load, prior          compiler techniques and associated with particular methods
to runtime, at least one of the selected methods onto a device         subjected to ahead-of-time compilation. Class files and
for execution. Furthermore, a dynamic class loader is oper-            optimized IR stored in class file repository 128 may be
able to load, during runtime, at least one of the selected        20   stored either temporarily or on a more pennanent basis.
methods onto the device for execution.                                    Class preloader 134 is used to preload, onto a device with
    A virtual machine located on a device is operable to               a virtual machine, certain classes prior to runtime. Any Java
receive at least one method from one of the class preloader            application, or any other set of methods that are nonnally
and dynamic class loader. An interpreter in the virtual                loaded at runtime could be preloaded using class preloader
machine may access a method descriptor data structure of a        25   134. The operation of a class preloader is more particularly
method about to be called, and determine whether the                   described in U.S. Pat. No. 5,966,542 to Tock, which has
method descriptor data structure has an optimized platform-            already been incorporated by reference.
independent intermediate representation associated with it.               Ahead-of-time compiler 136 handles the platform-inde-
Ajust-in-time compiler in the virtual machine may convert              pendent parts of method compilation, leaving the final,
the optimized intennediate representation associated with         30   platform-dependent part of method compilation to a JIT
the method about to be called to platform-dependent                    compiler running on a virtual machine. For example, ahead-
machine code based on a determination that the method                  of-time compiler 136 may utilize a profiling tool to identify
descriptor data structure has an optimized platform-indepen-           methods that should be compiled prior to runtime. There-
dent intermediate representation associated with it.                   after, ahead-of-time compiler 136 perfonns bytecode to IR
                                                                  35   transfonnation and IR optimization on the identified meth-
                   Network Environment                                 ods. The resulting optimized IR from the compilation of
                                                                       each method is stored alongside the method.
   FIG. 1 is a diagram of an exemplary network environment                Method selector 138 detennines which methods should be
in which features and aspects consistent with the present              compiled prior to runtime using ahead-of-time compiler
invention may be implemented. Network environment 100             40   136. Method selector 138 may run a profiling tool on class
may include host 102, servers 104a-104n, devices                       files to create an ordered list of methods based on predeter-
106a-106n, and network 108. The components of FIG. 1                   mined criteria. This ordered list is used with a heuristic to
may be implemented through hardware, software, and/or                  determine which methods should be compiled prior to
finnware. The number of components in network environ-                 runtime.
ment 100 is not limited to what is shown.                         45      FIG. 2A is a diagram of device 106a in greater detail,
   Host 102 and servers 104a-104n may supply devices                   although the other devices 106b--106n may contain similar
106a-106n with programs written in a platform-independent              components. Device 106a may include CPU 202, secondary
language, such as Java. For example, a software developer              storage 204, communications device 206, input device 208,
may create one or more Java programs and compile them                  display 210, and memory 212. Memory 212 may include
into class files that contain bytecodes executable by a virtual   50   operating system 214, browser 216, class file repository 218,
machine, such as a Java virtual machine. When a device,                virtual machine 222, and runtime class loader 230.
such as device 106a, wishes to execute a Java program, it                 When a user of device 106a wishes to execute a program
may issue a request to a server, such as server 104a, that             stored on a server, such as server 104a, the user may use
contains the program. In response, server 104a transmits the           browser 216 to issue a request to server 104a. In response,
corresponding class files to device 106a via an appropriate       55   server 104a transmits the corresponding class files to device
communication channel, such as network 108 (which may                  106a via network 108. For example, class files from server
comprise a wired or wireless communication network,                    104a may be stored either temporarily or on a more perma-
including the Internet). Device 106a may load the class files          nent basis in class file repository 218. Device 106a may load
into a virtual machine located in device 106a and proceed to           the class files into a virtual machine, such as virtual machine
execute the Java program. Alternatively, a device may             60   222, located in device 106a and proceed to execute the
receive a program, such as a Java program, from host 102               program. Alternatively, device 106a may load class files
via a direct connection, or from another device.                       from class file repository 218 that were not received from a
   Host 102 may include CPU 110, secondary storage 112,                server. For example, class file repository 218 may receive
input device 114, display 116, communications device 118,              class files from host 102 for later loading into the virtual
and memory 120. Memory 120 may include operating                  65   machine.
system 122, compiler 124, source code 126, class file                     Class file repository 218 may include preloaded class files
repository 128, which includes class files 130 and optimized           219 and dynamically loaded class files 220. Preloaded class
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 20 of 101


                                                     US 7,213,240 B2
                               7                                                                       8
files 219 are those class files that are loaded onto device             prior to runtime. Alternatively, a runtime class loader on
106a prior to runtime using, for example, class preloader               device 106a may pull data from class file repository 250
134 on host 102. Dynamically loaded class files 220 are                 during runtime.
those class files that are dynamically loaded at runtime                   FIG. 3 is a diagram showing the dataflow involved in
using, for example, runtime class loader 230. Preloaded                 platform-independent selective ahead-of-time compilation
class files 219 and dynamically loaded class files 220 may              consistent with the present invention. In the diagram
include optimized IR associated with particular methods that            depicted in FIG. 3, device 304 executes a lava program that
were subjected to ahead-of-time compilation.                            was initially located on host 302. lava source code 306 is
   Virtual machine 222 may include preloaded class files                provided to lava compiler 308, which translates lava source
224, lIT compiler 226 and interpreter 228 and is operable to       10   code into class files 310 that contain bytecodes executable
execute class files. In one implementation, virtual machine             by a virtual machine. Class files 310 may be provided to
222 is a lava virtual machine. One of ordinary skill in the art         method selector 312. Method selector 312 may select vari-
will recognize that other types of virtual machines may be              ous methods to be compiled prior to runtime and pass the
used instead. Preloaded class files 224 are those class files           selected class files 314 associated with the methods to
that are loaded onto device 106a prior to runtime using, for       15   ahead-of-time compiler 316, which may perform an ahead-
example, class preloader 134 on host 102, and may include               of-time compilation on some of the selected class files 314.
optimized IR associated with particular methods that were                  Ahead-of-time compiler 316 performs ahead-of-time
subjected to ahead-of-time compilation. Virtual machine                 compilation (e.g., prior to runtime) on identified methods.
222 may utilize both lIT compiler 226 and interpreter 228 to            For example, ahead-of-time compiler 316 first converts
help execute class files.                                          20   bytecodes to an IR. Next, ahead-of-time compiler 316
    lIT compiler 226 performs either fast compilation or lIT            optimizes the IR using common compiler techniques.
compilation of methods. Fast compilation may occur when                 Ahead-of-time compiler 316 also causes the optimized IR to
lIT compiler 226 processes a method that is associated with             be stored alongside the respective relevant methods. As a
a pre-computed optimized IR. For example, when lIT com-                 result, ahead-of-time compiler 316 may output various class
piler 226 receives a method with an optimized IR, it converts      25   files, along with associated optimized IR (class files &
the IR to platform-dependent machine code, which may then               optimized IR 318), if any. In one implementation, ahead-
be executed by virtual machine 222. lIT compilation may                 of-time compiler 316 may also output some class files that
occur when lIT compiler 226 processes a method that is not              do not have any optimized IR associated with them, such
associated with a pre-computed optimized IR. For example,               that some class files from ahead-of-time compiler 316 have
when lIT compiler 226 receives a method without an                 30   optimized IR and some do not. Greater detail on the opera-
optimized IR, the method may be processed during runtime                tion of an ahead-of-time compiler is provided below with
using traditional lIT compilation (e.g., bytecode to IR trans-          reference to FIGS. 4-5.
formation, IR optimization, and code generation).                          Class files & optimized IR 318 may be provided to either
                                                                        class preloader 322 or to storage local to device 304, such as
    Interpreter 228 interprets lava class files without compi-
                                                                        a class file repository (where runtime class loader 320 may
lation to platform-dependent code. Interpreter 228 examines        35
                                                                        then access the data), without preloading. Alternatively,
methods being executed by virtual machine 224 to deter-
                                                                        class files & optimized IR 318 may be provided to a server
mine whether an optimized IR is associated with specific
                                                                        for later distribution to a device.
methods. If a method does have an optimized IR, then
                                                                           Runtime class loader 320 may receive class files at the
interpreter 228 causes lIT compiler 226 to perform a fast
                                                                        same time that it receives related optimized IR. For example,
compilation on the method. Otherwise, interpreter 228 may          40
                                                                        runtime class loader 320 may receive class files and opti-
perform further tests on a method to decide whether the
                                                                        mized IR where the optimized IR are stored as new attributes
method should be interpreted or compiled by lIT compiler
                                                                        in method descriptors. Class preloader 322, however, may
226 using lIT compilation.
                                                                        receive class files at a different time than it receives related
    Runtime class loader 230 dynamically loads classes into        45
                                                                        optimized IR. In this manner, class preloader 322 operates
a user's address space at runtime. For example, runtime                 like an assembly line, storing optimized IR as a field of
class loader 230 may pull class files (which may include                method descriptors as it receives them. Alternatively, ahead-
optimized IR) during runtime from a local class file reposi-            of-time compiler 316 or a separate not shown) may store
tory, such as class file repository 218, or from a remote class         optimized IR as a field of method descriptors in a class file
file repository on a server or another device. These class files   50
                                                                        before being forwarded to class preloader 322. Although
may then be appropriately processed for execution.                      runtime class loader 320 is depicted in FIG. 3 as being
    FIG. 2B is a diagram of server 104a in greater detail,              external to lava virtual machine 328, some or all of runtime
although the other devices 106b-l06n may contain similar                class loader 320 may alternatively be internal to lava virtual
components. Server 104a may include CPU 232, secondary                  machine 328.
storage 234, input device 236, display 238, communications         55      Runtime class loader 320 and class preloader 322 load
device 240, and memory 242. Memory 242 may include                      class files onto device 304 dynamically or prior to runtime,
operating system 244, compiler 246, source code 248, class              respectively. Both preloaded class files 326 and dynamically
file repository 250, which includes class files 252 and                 loaded class files 324 may include optimized IR stored as a
optimized intermediate representations (IR) 254, and class              field of method descriptors corresponding to methods com-
preloader 256. The various units of server 104a function in        60   piled prior to runtime. Preloaded class files 326 are stored on
a manner similar to the similarly named units of host 102.              device 304 prior to runtime. Accordingly, if a method has an
    Server 104a may receive class files 252 and optimized IR            optimized IR associated with it, the optimized IR needs to be
254 from host 102, which may perform ahead-of-time                      stored as a field in the method descriptor either by class
compilation. Server 104a may then distribute class files 252            preloader 322 or a unit exterior to class preloader 322 before
and optimized IR 254 to a device, such as device 106a, as          65   runtime commences. Although preloaded class files 326 are
needed. For example, server 104a may utilize class pre-                 depicted in FIG. 3 as initially being external to lava virtual
loader 256 to load the appropriate data onto device 106a                machine 328, some or all of the preloaded class files 326
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 21 of 101


                                                    US 7,213,240 B2
                              9                                                                      10
may alternatively reside in lava virtual machine 328. Runt-               First, a method selector identifies the methods that should
ime class loader 320 receives class files & optimized IR               be compiled prior to runtime (step 502). For example, a
during runtime from a server, another device, or local                 profiling tool of the method selector may run an application
storage, and then produces dynamically loaded class files              or a set of applications (e.g., lava source code or bytecodes).
324. Accordingly, a method with an optimized IR associated             As the profiling tool runs the applications, it may collect
with it may have the optimized IR stored in its method                 statistics on the various methods in the applications. The
descriptor either at runtime or prior to runtime. Greater              profiling tool may then create an ordered list of methods,
detail on storing optimized IR with a method is provided               ranked according to predetermined criteria. For example, the
below with reference to FIGS. 4-7.                                     profiling tool may determine which methods are called the
    Dynamically loaded class files 324 and/or preloaded class     10   most often and rank the methods accordingly, with the
files 326 are provided to lava virtual machine 328, where lIT          most-called method ranked first. Another factor which the
compiler 330, interpreter 332, services from the underlying            profiling tool may use is memory size. For example, the
operating system 334, and the computer hardware (not                   profiling tool may rank methods according to memory size,
shown) aid in the execution of the class files. Interpreter 332        because space available for storing an IR may be limited.
recognizes whether a particular method has an optimized IR        15
                                                                       Other factors that may be used to help determine how
associated with it and may cause lIT compiler 330 to                   methods are initially ranked include execution time, a list
compile the method using fast compilation (e.g., skip byte-            predetermined by a developer, or random ranking. One
code to IR transformation and IR optimization), if there is            skilled in the art will recognize that the aforementioned
such an optimized IR. Greater detail on the operation of a             factors may each be used as a sole basis for ranking or in
lIT compiler and interpreter consistent with the present          20
                                                                       some combination with each other, and that additional
invention is provided below with reference to FIG. 8.                  factors not specifically listed here may be used.
                                                                          Once the profiling tool creates an ordered list of methods,
    FIG. 4A is a diagram showing the dataflow involved in the          it uses the ordered list with a heuristic to determine which of
operation of an ahead-of-time compiler consistent with the             the most used methods should be compiled prior to runtime.
present invention. Bytecodes 404 from a class file are            25
                                                                       The heuristic essentially shortens the ordered list created by
provided to method selector 406, which may be outside                  the profiling tool. The shortened list comprises the methods
ahead-of-time compiler 402, where methods that are to be
                                                                       that should be compiled prior to runtime. A developer may
compiled prior to runtime are selected. Alternatively,                 choose the criteria that the heuristic uses to determine
method selector 406 may be internal to ahead-of-time com-
                                                                       exactly which methods should selected. For example, a
piler 402. Method selector 406 may subsequently send              30
                                                                       developer may decide that only the first ten methods on the
selected bytecodes 408 associated with the selected methods            ordered list should be compiled prior to runtime, or that only
to ahead-of-time compiler 402. Specifically, selected byte-            methods that were called more than a certain number of
codes 408 are sent to bytecode to IR transformation unit 408.          times should be selected. Alternatively, the developer may
The selected bytecodes 408 are provided to bytecode to IR              specifY that a certain number of random methods from the
transformation unit 410 for conversion to platform-indepen-       35
                                                                       ordered list should be selected, or that only those methods
dent intermediate representations (IR). The IR 412 are                 from a predetermined list that are in the top 40 methods of
provided to IR optimization unit 414, where they are                   the ordered list should be selected. One skilled in the art will
changed into optimized IR 416 using common compiler                    recognize that the developer may choose criteria not spe-
techniques. Subsequently, optimized IR 416 are stored                  cifically mentioned here to determine which methods from
alongside the relevant methods (storage 418). The optimized       40
                                                                       an ordered list should be compiled prior to runtime. The
IR and corresponding methods are made available for use by             method selector (e.g., profiling tool and heuristic) described
a class preloader or runtime class loader.                             above may be part of an ahead-of-time compiler, or it may
    FIG. 4B is a diagram of a method selector 406 in greater           be a separate unit.
detail. Profiling tool 420 runs on class files or lava source             For each method identified as a method that should be
code to create an ordered list of methods based on prede-         45   compiled prior to runtime (step 504), the ahead-of-time
termined criteria. For example, profiling tool 420 may rank            compiler converts the bytecodes of the method to an inter-
methods according to number of times called, execution                 mediate representation (IR) (step 506). The ahead-of-time
time, memory size, predetermined list, randomly, and vari-             compiler also optimizes the IR of each identified method
0us other factors. Heuristic 422 may examine the list created          (steps 508, 510). An IR may be optimized using common
by profiling tool 420 and, using developer-chosen criteria,       50   compiler techniques. Because the techniques are utilized
determine which specific methods from the list should be               prior to runtime, compiler techniques that may be too
compiled prior to runtime. Profiling tool 420 and heuristic            expensive for runtime computation may be utilized.
422 need not be part of the same unit (e.g., method selector           Examples of such techniques include global common sub-
406). Additionally, profiling tool 420 may be located on a             expression, loop invariant hoisting, common sub-expression
device with a virtual machine. In such a configuration,           55   elimination, and liveness analysis. One skilled in the art will
profiling tool 420 may collect statistics on programs as they          recognize that other compiler techniques may be used.
are ruuning on the virtual machine, and subsequently send                 After the intermediate representations (IR) have been
the heuristic (which may be on a host, server, another device,         optimized, the ahead-of-time compiler may cause the opti-
or the same device as the profiling tool) an ordered list of           mized IR of each identified method to be stored alongside its
methods for further processing.                                   60   corresponding method (steps 512, 514). Optimized IR may
    FIG. 5 is an exemplary flowchart of a method for com-              be stored in two different ways. The type of storage is
piling methods ahead-of-time consistent with the present               dependent on whether classes associated with the optimized
invention. The flowchart of FIG. 5 corresponds to the                  IR are preloaded or dynamically loaded. When a class
dataflow of FIG. 4. Although the steps of the flow chart are           associated with an optimized IR is initially designated to be
described in a particular order, one skilled in the art will      65   preloaded, the optimized IR is stored as a field of the method
appreciate that these steps may be performed in a different            descriptor data structure of the method that was compiled to
order, or that some of these steps may be concurrent.                  create the optimized IR. Alternatively, the method descriptor
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 22 of 101


                                                     US 7,213,240 B2
                              11                                                                      12
may contain a pointer to the optimized IR instead of con-               the bytecode and IR of these attributes as fields of method
taining the optimized IR itself. The method descriptor may              descriptor 700 (e.g., it stores the bytecode and IR in the
also contain a flag indicating that the method has an opti-             method descriptor).
mized IR associated with it. Once the optimized IR has been                 FIG. S is an exemplary flowchart for executing methods
stored with the method descriptor, the class preloader may              consistent with the present invention. Although the steps of
proceed to preload the method descriptor or store the method            the flow chart are described in a particular order, one skilled
descriptor for later dynamic loading by the runtime class               in the art will appreciate that these steps may be performed
loader.                                                                 in a different order, or that some of these steps may be
                                                                        concurrent.
   FIG. 6 is an exemplary diagram of a method descriptor           10
                                                                            When a virtual machine, such as virtual machine 222,
that has an optimized IR stored as a field. One skilled in the          runs a program, various methods are loaded into the virtual
art will recognize that method descriptor 600 is not limited            machine either as part of preloading or dynamic class
to the specific fields depicted in FIG. 6. Method descriptor            loading. If the runtime class loader recognizes that methods
600 includes method name 602, parameters 604, return type               containing the Compiler IR attribute are loaded as part of
606, flags 60S, IR 610, and bytecode 612. Method name 602          15   dynamic class loading, the IR becomes a field of the method
represents the name to be used when referencing the method.             descriptor data structure prior to being loaded into the virtual
Parameters 604 is a list of arguments that the method uses.             machine. Also, the method descriptor is flagged as contain-
Each parameter is a lava class type. Return type 606 is a               ing an IR. Alternatively, the IR of the Compiler IR attribute
lava class type that is returned by the method upon execu-              may be stored in the method descriptor data structure prior
tion. Flags 60S are a number of indicators used to denote          20   to runtime. Pre-loaded methods with an IR are already
various properties of the method. Flags 60S may include a               flagged and, have the IR as a field. As the virtual machine
flag indicating that there is an IR associated with the method.         proceeds with executing a program, each time a method is
IR 610 is a platform-independent intermediate representa-               about to be called, the interpreter of the virtual machine
tion (IR) resulting from the ahead-of-time compilation of the           accesses the method descriptor of the method to be called
method. IR 610 may be the IR itself or a pointer to the IR.        25   (step S02).
Bytecodes 612 are the bytecodes and auxiliary information                   Next, the interpreter makes a determination as to whether
needed to implement the method in cases where the IR does               the method to be called has a pre-computed IR (step S04).
not end up being compiled.                                              Specifically, the interpreter checks the flags of the method
   When a class associated with an optimized IR is initially            descriptor to see if there is a flag indicating that there is an
designated to be dynamically loaded, the IR is stored as a         30   IR associated with the method. If there is an IR associated
new attribute of the method descriptor for the method.                  with the method, then the interpreter passes the IR to a lIT
Accordingly, when a program being executed by a virtual                 compiler (step S06). Alternatively, instead of automatically
machine on a device needs a method with an optimized IR                 sending the IR to the lIT compiler, the virtual machine may
from a server (or from another device or local storage area             subject the method to further tests to determine whether the
on the same device), a runtime class loader may load the           35   IR should be compiled. For example, the virtual machine
appropriate class file onto the device. Prior to loading, if the        may use factors such as memory usage during runtime,
runtime class loader is programmed to recognize the new                 processor usage, user decision (e.g., user decides that he
attribute that corresponds to the IR, then it accesses the IR           does not want IR compiled), execution time, and/or fuzzy
attribute and stores the IR as a field in the method descriptor         logic, to decide whether an IR should be compiled. If the
(the IR itself or a pointer to the IR may be stored as a field).   40   virtual machine determines that the method should still be
Also, the method descriptor is flagged as containing an IR.             compiled, the interpreter may pass the IR to the lIT com-
In this manner, the runtime class loader may transform the              piler. If the virtual machine decides that the IR should not be
method descriptor into a method descriptor that is similar to           compiled, then the interpreter proceeds to interpret the
that normally used for preloading. Alternatively, an ahead-             method without compilation.
of-time compiler may recognize the IR attribute, store the IR      45      Upon receiving the IR, the lIT compiler completes the
as a field in the method descriptor, and flag the method                compilation of the method by performing a fast compilation
descriptor as containing an IR. Moreover, a development                 on it (step SOS). For example, the lIT compiler may translate
tool may perform these steps during development time (e.g.,             the optimized IR to machine dependent code (e.g., code
outside of runtime).                                                    generation). The bytecode to IR transformation and IR
   FIG. 7 is an exemplary diagram of a method descriptor           50   optimization steps that are normally part of a lIT compila-
and related attributes for use in dynamic class loading. One            tion are not performed. After fast compilation has been
skilled in the art will recognize that method descriptor 700            performed, the virtual machine continues execution (step
is not limited to the specific fields depicted in FIG. 7, and           SI0). Specifically, the virtual machine jumps to the now
that additional attributes may be associated with the descrip-          compiled code of the method. After the virtual machine
tor. Method descriptor 700 includes method name 702,               55   executes the method, execution of the rest of the lava
parameters 704, return type 706, attributes 70S, and flags              program may continue. If execution does not lead to the
710. Attributes 70S includes a list of attribute structures for         calling of any more methods, then execution continues until
use in conjunction with the method. In order to properly                it is complete (step SI2-No). If the virtual machine deter-
process attributes, a virtual machine, runtime class loader, or         mines that another method is about to be called, then the
ahead-of-time compiler must be able to recognize and               60   appropriate method descriptor may be accessed and pro-
correctly read the attribute structures. Code attribute 712             cessed as described above (step SI2-Yes).
includes the bytecodes and auxiliary information needed to                 If the interpreter determines that a method to be called
implement the method. Compiler IR attribute 714 includes                does not have a pre-computed IR (or if the interpreter is not
a platform-independent intermediate representation result-              programmed to recognize whether a method has a pre-
ing from the ahead-of-time compilation of the method. If the       65   computed IR), then the interpreter makes a determination as
runtime class loader or ahead-of-time compiler recognizes               to whether lIT compilation is available (step SI4). For
Compiler IR attribute 714 and Code attribute 712, it includes           example, the interpreter may check a flag or other indicator
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 23 of 101


                                                    US 7,213,240 B2
                             13                                                                    14
associated with the lIT compiler to determine whether the                2. The process of claim 1, further comprising:
lIT compiler is configured to perform lIT compilation. lIT               optimizing, by the host, the platform-independent inter-
compilation refers to compilation that at least includes                    mediate representation of each selected method before
bytecode to IR transformation, IR optimization, and code                    the storing.
generation. If the interpreter determines that lIT compilation           3. The process of claim 1, wherein the ranking includes
is available, the lIT compiler makes a determination as to            creating an ordered list of methods in the set of methods.
whether the method to be called is worthy of compilation                 4. The process of claim 1, wherein the predetermined
(step 816). For example, a method may not be worthy of                criteria is number of times called.
compilation if the bytecode is so short, that it is not worth            5. The process of claim 1, wherein the predetermined
the time it would take to compile the bytecode. If the lIT       10   criteria is memory size.
compiler determines that the method is worthy of compila-                6. The process of claim 1, wherein the predetermined
tion, then it proceeds to compile the method using lIT                criteria is execution time.
compilation (step 818). Thereafter, the virtual machine con-             7. The process of claim 1, wherein the predetermined
tinues execution with a jump to the now compiled code of              criteria is a list determined by a developer.
the method.                                                      15      8. The process of claim 1, wherein the heuristic is based
   If the interpreter determines that lIT compilation is not          on developer-chosen criteria.
available, or if the lIT compiler determines that a method is            9. The process of claim 2, said storing comprising storing
not worthy of compilation, then the interpreter proceeds to           each optimized intermediate representation as one of a field
interpret the method without compilation (step 820). The              of a corresponding method descriptor data structure and an
virtual machine may then continue execution of the rest of       20   attribute of the corresponding method descriptor data struc-
the lava program.                                                     ture.
   While the present invention has been described in con-                10. The process of claim 9, wherein an optimized inter-
nection with various embodiments, many modifications will             mediate representation is stored as a field of a corresponding
be readily apparent to those skilled in the art. Although             method descriptor data structure when the corresponding
aspects of the present invention are described as being stored   25   selected method is preloaded.
in memory, one skilled in the art will appreciate that these             11. The process of claim 9, wherein an optimized inter-
aspects can also be stored on or read from other types of             mediate representation is stored as an attribute of a corre-
computer-readable media, such as secondary storage                    sponding method descriptor data structure when the corre-
devices, like hard disks, floppy disks, or CD-ROM; a carrier          sponding selected method is dynamically loaded.
wave, optical signal or digital signal from a network, such as   30      12. The process of claim 1, wherein the virtual machine
the Internet; or other forms of RAM or ROM either currently           determines whether the at least one selected method has a
known or later developed. Additionally, although a number             platform-independent intermediate representation associ-
of the software components are described as being located             ated with it by checking a flag in the associated method
on the same machine, one skilled in the art will appreciate           descriptor data structure.
that these components may be distributed over a number of        35      13. The process of claim 1, wherein the virtual machine
machines. The invention, therefore, is not limited to the             selectively converts the platform-independent intermediate
disclosure herein, but is intended to cover any adaptations or        representation associated with the at least one selected
variations thereof.                                                   method to platform-dependent code.
                                                                         14. The process of claim 13, wherein the selective con-
                                                                 40   version is based on at least one of memory usage during
   What is claimed is:
                                                                      runtime, processor usage, user decision, or fuzzy logic.
   1. A process for platform-independent selective ahead-of-
                                                                         15. The process of claim 2, wherein the optimizing is
time compilation in a system including a host and a device,
                                                                      performed according to at least one of global common
comprising:
                                                                      subexpression, loop invariant hoisting, common sub-expres-
   selecting, by the host, a subset of methods from bytecodes    45   sion elimination, and liveness analysis.
      for ahead-of-time compilation, the selecting including             16. A process for platform-independent selective ahead-
      ranking a set of methods according to predetermined             of-time compilation in a system including a host and a
      criteria and identifYing the subset of methods from the         device, comprising:
      set of methods using a heuristic, wherein the bytecodes            selecting, by the host, a subset of methods from bytecodes
      are compiled from source codes prior to the ahead-of-      50
                                                                            for ahead-of-time compilation, wherein the bytecodes
      time compilation;                                                     are compiled from source codes prior to the ahead-of-
   converting, by the host, for each selected method, the                   time compilation;
      bytecodes corresponding to the selected method to a                converting, by the host, for each selected method, the
      platform-independent intermediate representation;                     bytecodes corresponding to the selected method to a
   storing each of the intermediate representations with a       55         platform-independent intermediate representation;
      corresponding selected method; and                                 optimizing, by the host, the platform-independent inter-
   loading at least one of the selected methods onto the                    mediate representation of each selected method; and
      device for execution by a virtual machine on the device,           storing each of the optimized intermediate representations
      wherein the virtual machine accesses a method descrip-                as one of a field of a corresponding method descriptor
      tor data structure associated with the at least one        60         data structure and an attribute of the corresponding
      selected method, determines whether the at least one                  method descriptor data structure;
      selected method has an intermediate representation                 loading at least one of the selected methods onto the
      associated with it, and, based on a determination that                device for execution by a virtual machine on the device,
      the at least one selected method is associated with an                wherein the virtual machine accesses a method descrip-
      intermediate representation, converts the intermediate     65         tor data structure associated with the at least one
      representation associated with the at least one selected              selected method, determines whether the at least one
      method to platform-dependent machine code.                            selected method has an optimized intermediate repre-
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 24 of 101


                                                    US 7,213,240 B2
                             15                                                                     16
      sentation associated with it, and, based on a detenni-             30. The process of claim 29, wherein the platform-
      nation that the at least one selected method is associ-         independent intermediate representation of each selected
      ated with an optimized intennediate representation,             method is optimized by the host before storing with a
      converts the optimized intennediate representation              corresponding selected method.
      associated with the at least one selected method to                31. An apparatus for platfonn-independent selective
      platform-dependent machine code.                                ahead-of-time compilation in a system including a host and
   17. The process of claim 16, said selecting comprising:            a device, comprising:
   ranking a set of methods according to predetermined                   a method selector on the host and operable to select a
      criteria; and                                                         subset of methods from bytecodes for ahead-of-time
   identifYing the subset of methods from the set of methods     10         compilation, the method selector including a profiling
      using a heuristic.                                                    tool operable to rank a set of methods according to
   18. The process of claim 17, wherein the ranking includes                predetennined criteria and a heuristic operable to iden-
creating an ordered list of methods in the set of methods.                  tifY the subset of methods from the set of methods,
   19. The process of claim 17, wherein the predetermined                   wherein the bytecodes are compiled from source codes
criteria is number of times called.                              15         prior to the ahead-of-time compilation; and
   20. The process of claim 17, wherein the predetermined                an ahead-of-time compiler on the host, the ahead-of-time
criteria is memory size.                                                    compiler including a first unit and a second unit, the
   21. The process of claim 17, wherein the predetermined                   first unit operable to convert, for each selected method,
criteria is execution time.                                                 the bytecodes corresponding to the selected method to
   22. The process of claim 17, wherein the predetermined        20
                                                                            a platform-independent intermediate representation,
criteria is a list detennined by a developer.                               and the second unit operable to optimize the platform-
   23. The process of claim 17, wherein the heuristic is based              independent intermediate representation of each
on developer-chosen criteria.                                               selected method, wherein each of the optimized inter-
   24. The process of claim 16, wherein an optimized                        mediate representations is stored with a corresponding
intermediate representation is stored as a field of a corre-     25
                                                                            selected method;
sponding method descriptor data structure when the corre-
                                                                         a class preloader operable to load, prior to runtime, at least
sponding selected method is preloaded.
                                                                            one of the selected methods onto the device for execu-
   25. The process of claim 16, wherein an optimized
                                                                            tion by a virtual machine, wherein
intermediate representation is stored as an attribute of a
corresponding method descriptor data structure when the          30
                                                                         the virtual machine accesses a method descriptor data
corresponding selected method is dynamically loaded.                        structure associated with the at least one selected
   26. The process of claim 16, wherein the virtual machine                 method, determines whether the at least one selected
determines whether the at least one selected method has a                   method has an optimized intennediate representation
platform-independent intermediate representation associ-                    associated with it, and, based on a determination that
ated with it by checking a flag in the associated method         35
                                                                            the at least one selected method is associated with an
descriptor data structure.                                                  optimized intennediate representation, converts the
   27. The process of claim 16, wherein the virtual machine                 optimized intermediate representation associated with
selectively converts the platfonn-independent intermediate                  the at least one selected method to platform-dependent
representation associated with the at least one selected                    machine code.
method to platfonn-dependent code.                               40      32. The apparatus of claim 31, wherein the profiling tool
   28. The process of claim 27, wherein the selective con-            creates an ordered list of methods in the set of methods.
version is based on at least one of memory usage during                  33. The apparatus of claim 31, wherein the predetermined
runtime, processor usage, user decision, or fuzzy logic.              criteria is number of times called.
   29. A process, perfonned by a device, for platform-                   34. The apparatus of claim 31, wherein the predetermined
independent selective ahead-of-time compilation in a system      45   criteria is memory size.
including a host and the device, comprising:                             35. The apparatus of claim 31, wherein the predetermined
   receiving at least one method from the host, wherein the           criteria is execution time.
      method is from a subset of methods from bytecodes                  36. The apparatus of claim 31, wherein the predetermined
      selected by the host for ahead-of-time compilation,             criteria is a list determined by a developer.
      wherein the bytecodes are compiled from source codes       50
                                                                         37. The apparatus of claim 31, wherein the heuristic
      prior to the ahead-of-time compilation, and wherein the
                                                                      identifies the subset of methods based on developer-chosen
      bytecodes corresponding to each selected method are
                                                                      criteria.
      converted by the host to a platfonn-independent inter-
      mediate representation, and each of the platform-inde-             38. The apparatus of claim 31, each optimized intenne-
      pendent intennediate representations is stored with a      55   diate representation is stored as one of a field of a corre-
      corresponding selected method;                                  sponding method descriptor data structure and an attribute of
   accessing a method descriptor data structure of a method           the corresponding method descriptor data structure.
      about to be called;                                                39. The apparatus of claim 38, wherein an optimized
   detennining whether the method descriptor data structure           intermediate representation is stored as a field of a corre-
      has a platfonn-independent intermediate representation     60   sponding method descriptor data structure when the corre-
      associated with it; and                                         sponding selected method is loaded by the class preloader
   converting the intennediate representation associated              prior to runtime.
      with the at least one selected method to platform-                 40. The apparatus of claim 38, wherein an optimized
      dependent machine code based on a detennination that            intermediate representation is stored as an attribute of a
      the method descriptor data structure has a platform-       65   corresponding method descriptor data structure when the
      independent intermediate representation associated              corresponding selected method is loaded by a dynamic class
      with it.                                                        loader during runtime.
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 25 of 101


                                                      US 7,213,240 B2
                              17                                                                       18
  41. An apparatus for platfonn-independent selective                       a virtual machine on a device, the virtual machine oper-
ahead-of-time compilation in a system including a host,                        able to receive at least one method from one of the class
comprising:                                                                   preloader and dynamic class loader;
   a virtual machine operable to receive at least one method                an interpreter on the device, the interpreter operable to
      from the host, wherein the method is from a subset of                    access a method descriptor data structure of a method
      methods from bytecodes selected by the host for ahead-                   about to be called, and detennine whether the method
      of-time compilation, wherein the bytecodes are com-                      descriptor data structure has an optimized platform-
      piled from source codes prior to the ahead-of-time                       independent intermediate representation associated
      compilation, and wherein the bytecodes corresponding                    with it; and
      to each selected method are converted by the host to a        10      a just-in-time compiler on the device, the just-in-time
      platform-independent intermediate representation, the                    compiler operable to convert the optimized intermedi-
      platform-independent intermediate representation of                      ate representation associated with the method about to
      each selected method is optimized by the host, and each                 be called to platform-dependent machine code based on
      of the optimized platfonn-independent intermediate                       a determination that the method descriptor data struc-
      representations is stored with a corresponding selected       15        ture has an optimized platform-independent intermedi-
      method;                                                                  ate representation associated with it.
   an interpreter operable to access a method descriptor data               46. An apparatus for platfonn-independent selective
      structure of a method about to be called, and detennine            ahead-of-time compilation, comprising:
      whether the method descriptor data structure has an                   means for selecting a subset of methods from bytecodes
      optimized platfonn-independent intermediate represen-         20         for ahead-of-time compilation, wherein the bytecodes
      tation associated with it; and                                           are compiled from source codes prior to the ahead-of-
                                                                              time compilation;
   ajust-in-time compiler operable to convert the optimized
                                                                            means for converting, for each selected method, the
      intermediate representation associated with the method
                                                                              bytecodes corresponding to the selected method to a
      about to be called to platfonn-dependent machine code
      based on a detennination that the method descriptor           25
                                                                              platform-independent intennediate representation;
                                                                            means for optimizing the platfonn-independent intenne-
      data structure has an optimized platform-independent
                                                                               diate representation of each selected method; and
      intermediate representation associated with it.
                                                                            means for storing each of the optimized intermediate
   42. The apparatus of claim 41, wherein the interpreter                     representations as one of a field of a corresponding
determines whether the method descriptor data structure has         30
                                                                              method descriptor data structure and an attribute of the
an optimized platfonn-independent intennediate represen-                       corresponding method descriptor data structure;
tation associated with it by checking a flag in the method                  means for loading at least one of the selected methods
descriptor data structure.                                                     onto a device for execution by a virtual machine on the
   43. The apparatus of claim 41, wherein the just-in-time                     device, wherein the virtual machine accesses a method
compiler selectively converts the optimized platform-inde-          35         descriptor data structure associated with the at least one
pendent intennediate representation associated with the                        selected method, determines whether the at least one
method about to be called to platform-dependent code.                          selected method has an optimized intennediate repre-
   44. The apparatus of claim 43, wherein the selective                        sentation associated with it, and, based on a detenni-
conversion is based on at least one of memory usage during                    nation that the at least one selected method is associ-
runtime, processor usage, user decision, or fuzzy logic.            40         ated with an optimized intennediate representation,
   45. A system for platform-independent selective ahead-                      converts the optimized intennediate representation
of-time compilation, comprising:                                               associated with the at least one selected method to
   a method selector on a host and operable to select a subset                platform-dependent machine code.
      of methods from bytecodes for ahead-of-time compi-                    47. The apparatus of claim 46, said means for selecting
      lation, the method selector including a profiling tool        45
                                                                         comprising:
      operable to rank a set of methods according to prede-                 means for ranking a set of methods according to prede-
      tennined criteria and a heuristic operable to identify the              tennined criteria; and
      subset of methods from the set of methods, wherein the                means for identifying the subset of methods from the set
      bytecodes are compiled from source codes prior to the                    of methods using a heuristic.
      ahead-of-time compilation;                                    50
                                                                            48. The apparatus of claim 47, wherein the means for
                                                                         ranking creates an ordered list of methods in the set of
   an ahead-of-time compiler on the host, the ahead-of-time
                                                                         methods.
      compiler including a first unit and a second unit, the                49. The apparatus of claim 46, wherein an optimized
      first unit operable to convert, for each selected method,          intermediate representation is stored as a field of a corre-
      the bytecodes corresponding to the selected method to         55
                                                                         sponding method descriptor data structure when the corre-
      a platfonn-independent intermediate representation,                sponding selected method is preloaded.
      and the second unit operable to optimize the platform-                50. The apparatus of claim 46, wherein an optimized
      independent intermediate representation of each                    intermediate representation is stored as an attribute of a
      selected method, wherein each of the optimized inter-              corresponding method descriptor data structure when the
      mediate representations is stored with a corresponding        60
                                                                         corresponding selected method is dynamically loaded.
      selected method;                                                      51. The apparatus of claim 46, wherein the virtual
   a class preloader operable to load, prior to runtime, at least        machine determines whether the at least one selected
      one of the selected methods onto a device for execu-               method has a platform-independent intermediate represen-
      tion;                                                              tation associated with it by checking a flag in the associated
   a dynamic class loader operable to load, during runtime,         65   method descriptor data structure.
      at least one of the selected methods onto the device for              52. The process of claim 46, wherein the virtual machine
      execution;                                                         selectively converts the platfonn-independent intermediate
        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 26 of 101


                                                    US 7,213,240 B2
                             19                                                                   20
representation associated with the at least one selected              ing a host and a device, the process comprising: receiving at
method to platfonn-dependent code.                                    least one method from the host, wherein the method is from
   53. The process of claim 52, wherein the selective con-            a subset of methods from bytecodes selected by the host for
version is based on at least one of memory usage during               ahead-of-time compilation, wherein the bytecodes are com-
runtime, processor usage, user decision, or fuzzy logic.              piled from source codes prior to the ahead-of-time compi-
   54. A computer-readable storage medium containing                  lation, and wherein the bytecodes corresponding to each
instructions for perfonning a process for platform-indepen-           selected method are converted by the host to a platform-
dent selective ahead-of-time compilation in a system includ-          independent intennediate representation, the platform-inde-
ing a host and a device, the process comprising: selecting, by        pendent intennediate representation of each selected method
the host, a subset of methods from bytecodes for ahead-of-       10   is optimized by the host, and each of the optimized platform-
time compilation, wherein the bytecodes are compiled from             independent intennediate representations is stored with a
source codes prior to the ahead-of-time compilation; con-             corresponding selected method; accessing, by a virtual
verting, by the host, for each selected method, the bytecodes         machine on the device, a method descriptor data structure of
corresponding to the selected method to a platform-inde-              a method about to be called; determining, by the virtual
pendent intennediate representation; optimizing, by the          15   machine, whether the method descriptor data structure has
host, the platfonn-independent intermediate representation            an optimized platfonn-independent intermediate represen-
of each selected method; and storing each of the optimized            tation associated with it; and converting, by the virtual
intermediate representations as one of a field of a corre-            machine, the optimized intennediate representation associ-
sponding method descriptor data structure and an attribute of         ated with the at least one selected method to platform-
the corresponding method descriptor data structure; loading      20   dependent machine code based on a determination that the
at least one of the selected methods onto the device for              method descriptor data structure has an optimized platform-
execution by a virtual machine on the device, wherein the             independent intermediate representation associated with it.
virtual machine accesses a method descriptor data structure              60. An apparatus for platfonn-independent selective
associated with the at least one selected method, determines          ahead-of-time compilation in a system including a host and
whether the at least one selected method has an optimized        25   a device, comprising:
intermediate representation associated with it, and, based on            means for receiving at least one method from the host,
a determination that the at least one selected method is                    wherein the method is from a subset of methods from
associated with an optimized intermediate representation,                   bytecodes selected for ahead-of-time compilation,
converts the optimized intermediate representation associ-                  wherein the bytecodes are compiled from source codes
ated with the at least one selected method to platform-          30         prior to the ahead-of-time compilation, and wherein the
dependent machine code.                                                     bytecodes corresponding to each selected method are
   55. The computer-readable storage medium of claim 54,                    converted to a platfonn-independent intermediate rep-
said selecting comprising: ranking a set of methods accord-                 resentation, the platfonn-independent intennediate rep-
ing to predetermined criteria; and identifying the subset of                resentation of each selected method is optimized, and
methods from the set of methods using a heuristic.               35         each of the optimized platfonn-independent intenne-
   56. The computer-readable storage medium of claim 55,                    diate representations is stored with a corresponding
wherein the ranking includes creating an ordered list of                    selected method;
methods in the set of methods.                                           means for accessing a method descriptor data structure of
   57. The computer-readable storage medium of claim 54,                    a method about to be called;
wherein an optimized intermediate representation is stored       40      means for determining whether the method descriptor
as a field of a corresponding method descriptor data struc-                 data structure has an optimized platform-independent
ture when the corresponding selected method is preloaded.                   intennediate representation associated with it; and
   58. The computer-readable storage medium of claim 54,                 means for converting the optimized intennediate repre-
wherein an optimized intermediate representation is stored                  sentation associated with the at least one selected
as an attribute of a corresponding method descriptor data        45         method to platfonn-dependent machine code based on
structure when the corresponding selected method is                         a determination that the method descriptor data struc-
dynamically loaded.                                                         ture has an optimized platform-independent intermedi-
   59. A computer-readable storage medium containing                        ate representation associated with it.
instructions for perfonning a process for platform-indepen-
dent selective ahead-of-time compilation in a system includ-                                * * * * *
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 27 of 101




                     Exhibit B-1
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 28 of 101




                                                         Our Ref.: 82225.P370




           APPLICATION FOR UNITED STATES LEITERS PATENT

                               FOR




                  ~ETHOD    AND APPARATUS
             FOR RESOLVING      DATA REFERENCES_
                     IN GENERATED CODE




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 29 of 101




          WHAT IS CLAIMEP IS


          1.      In a computer system comprising a program in source code form, a method
          for generating executable code for said program and resolving data references in
          said generated code, said method comprising the steps of:
                  a) generating executable code in intermediate form for said program in
          source code form with data references being made in said generated code on a
          symbolic basis, said generated code comprising a plurality of instructions of said
          computer system;
                  b) interpreting said instructions, one at a time, in accordance to a program
          execution control;

 ~'   1           c) resolving said symbolic references to corresponding numeric
          references, replacing said symbolic references with their corresponding numeric
          references, and continuing interpretation without advancing program execution,
          as said symbolic references are encountered while said instructions are being
          Interpreted; and
                  d) obtaining data in accordance to said numeric references, and
          continuing interpretation after advancing program execution, as said numeric
          references are encountered while said instructi09aBre being interpreted;
                  said steps b) through d) being performed iteratively and interleavingly.


          2.      The method as set forth in claim 1, wherein, said program in source code
          form is implemented in source code form of an object oriented programming
          language.


          3.      The method as set forth in claim 2, wherein, said programming language is
          C.

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5         M&A For Resolving Data References                                       MEMS/ATAljh




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 30 of 101




      4.      The method as set forth in claim 2, wherein, said programming language is
      C++.


      5.      The method as set forth in claim 1, wherein,
              said program execution control is a program counter;
              said continuing inte,rpretation in step c) is achieved by performing said step
      b) after said step c) without incrementing said program counter; and
              said continuing interpretation in said step d) is achieved by performing
      said step b) after said d) after incrementing said program counter.


      6.      In a computer system comprising a program in source code form, an
      apparatus for generating executable code for said program and resolving data
      references in said generated code, said apparatus comprising:
              a) compilation means for receiving said program in source code form and
      generating executable code in intermediate form for said program in source code
      form with data references being made in said generated code on a symbolic
      basis, said generated code comprising a plurality of Instructions of said computer
      system;
              b) interpretation means for receiving said generated code and interpreting
      said instructions, one at a time;
              c) dynamic reference handling mea'ns coupled to said interpretation
      means for resolving said symbolic references to corresponding numeric
      references, replacing said symbolic references with their corresponding numeric
      references, and continuing interpretation by said interpretation means without
      advancing program execution, as said symbollc references are encountered
      while said instructions are being interpreted by said interpretation means; and



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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 31 of 101




             d) static reference handling means coupled to said interpretation means
     for obtaining data in accordance to said numeric references, and continuing
     interpretation by said interpretation means after advancing program execution, as
     said numeric references are encountered while said instruction are being
     interpreted by said interpretation means;
             said interpretation means, said dynamic reference handling means, and
     said static reference handling means performing their corresponding functions
     iteratively and interleavingly.


     7.      The apparatus as set forth in claim 6, wherein, said program in source
     code form is implemented in source code form of an object oriented programming
     language.


     8.      The apparatus as set forth in claim 7, wherein, said programming
     language is C.


     9.      The apparatus as set forth in claim 7, wherein, said programming
     language is C++.


     10.     The apparatus as set forth in claim 6, wherein,
             said program execution control is a program counter! •
             said continuing interpretation in step } is achieved by performing said step
     b}'after said step c} without incrementing s id program counter; and
             said continuing interpretation in sai step d) is achieved by performing
     said step b) after said d) after incrementi   said program counter.




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    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 32 of 101




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                                                        EXAMINER INTERVIEW SUMMARY RECORD
All participants (applicant, applicant's representative, PTO personnel!:                                                                       OS/27/94

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Exhibit shown Dr dllfl1onstration conducted:           0   VIIS   0       No.   If yes, brief description: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Agreement ~was reached with respect to some Dr all of the claims in qUlIstlon.                       0   was not reached.


Claims discussed:   -J0-+-.!.~~{)'---------------------------------------------
Identification of prior ert discussed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Description of the general nature of what wes agreed to if an agreement was rBached, or eny other comments: _ _ _ _ _ _ _ _ _ _ _ _ _ __




(A fuller dl!5cription. if necessary. and a copy of thl! amandments, if aVllllable, which the examiner agreed would render the claims allowable must be
attached. Also, where no copy of tha amendments which would rendllr the claims ellowable is available, a summary thl!reof must be attached.]

Unless the paragraphs below have been checkad to indicate to the Contrary. A FORMAL WRITTEN RESPONSE TO THE LAST OFFICE ACTION IS
NOT WAIV ED AND MUST INCLU DE THE SUBSTANCE OF THE INTE RV lEW (e.g., items 1-7 on the reverse side of this form). If a response to the
last Office action has already been filed, then applicant is given one month from this interl/iew date to provide a statement of the substancB of the interview.

    !;')It is not necessary for applicant to provide a separate record of the substanca of the interviaw.


    o Since the examiner's interview summery above (including any attach manu) reflects a complete responSB to each of the obiections, rejections and
       'Kp. .u'.."I~m'""o"h.,M.Off .. ".;m'.                                                               G~                         1/.,< ilL
       requirements that may be present in the last Office action, and since the cleims ere now allowable, this completed form is considered to fulfill the




                                                                                                               EKaminer's Signature
PTOI..413 (REV 1,84)

                                 ORIGINAL FOR INS'ERTION 'IN RIGHT HAND FLAP OF FILE WRAPPER




                                                                                                                              OAGOOGLE0000057220
    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 33 of 101

                                                                                                        UNITED STATES DI:,ARTMENT OF COMMERCE
                                                                                                        Palent and Trademark Office
                                                                                                        Address: COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                                                 Washington, DC, 20231




                     07/994~655                           12/22/92            GOSLING                                            J          82225~P37 0

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                                                                                         B3MlI0527
                     IRELL 8< MANELLA
                     1800 AVENUE OF THE STARS
                     SUITE 900
                     LOS ANGELES 7 CA 90067                                                                                      2316

                                                                                                                          DATE MAIU:D'         OS/27/94


                                                                             NOTICE OF ALLOWABILITY


 PART I.
     1       0       This communication IS responsive to
     2   Pl          All the claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED In this applicallOn. If nol included
                     herewith (or previously mailed), a Notice Of Allowance And Issue Fee Due or other appropriate communicallon Will be sent In due
                     course,                                    10
          ~The~~weddalmsa~~~/~-~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~_
          o The drawings filed on                                 are acceptable,
          o Acknowledgmenl IS made of the claim for priority under 35 U.S C 119 The certified copy has [--J been received. [-J not been
                     received [     I been   filed   In   parent applicatIOn Serial No   ~~~~~~_~~~,               filed on   ~~~~~~~~~~~_~~

    6,       i:f( Nole the     atlached Examiner's Amendment
          )?J        Note the attached Examiner Interview Summary Record, PTOL-413,
    8     )(:I Note the attached Examiner's Statement of Reasons for Allowance
    9.,g: Note the attached NOTICE OF REFERENCES CITED, PTO-892
 10          0       Note the attached INFORMATION DISCLOSURE CITATION, PTO-1449.


PART II.
A SHORTENED STATUTORY PERIOD FOR RESPONSE to comply with the requirements noted below is set to EXPIRE THREE MONTHS
FROM THE "DATE MAILED" Indicated on thiS form Failure to timely comply will result In the ABANDONMENT of thiS application
ExtenSions of time may be obtailled under the provIsions of 37 CFR 1 136(a)

 1       0       Note the attached EXAMINER'S AMENDMENT or NOTICE OF INFORMAL APPLICATION, PTO-152, whiCh discloses thai the oath
                 or declarallon IS deflclenl A SUBSTITUTE OATH OR DECLARATION IS REQUIRED
2    "F"         APPLICANT MUST MAKE THE DRAWING CHANGES INDICATED BELOW IN THE MANNER SET FORTH ON THE REVERSE SIDE
                 OF THIS PAPER
         a ~ Dlawlng Informalities are Indlcaled on the NOTICE RE PATENT DRAWINGS, PTO-948, attached hereto ~r Is Ps"er ~,s
                         CORRECTION IS REQUIRED.
         b,      0    The proposed draWing correction filed on _~~~~~~~~_ has been approved by the examiner CORRECTION IS
                      REQUIRED
         c       0    Approved draWing corrections are described by the examiner In the attached EXAMINER'S AMENDMENT CORRECTION IS
                      REQUIRED
              ~ Formal draWings are now REQUIRED.




Any response to thiS letter should IIlclude in the upper nght hand corner, lhe follOWing IntormaliOn from the NOTICE OF ALLOWANCE
AND ISSUE FEE DUE ISSUE BATCH NUMBER, DATE OF THE NOTICE OF ALLOWANCE, AND SERIAL NUMBER

 Attachments.
)( Examiner s Amendmenl                                                                      _ Nollee ollnlormal Application PTO· t52
X.       Examiner InterView Summary Record, PTOl· 413                                        )( Notice ra Palen! DraWings PTO-948
)C.. Reasons for Allowance                                                                   _ listing of Bonded Draftsmen
 )( Nollee 01 Relerences Cited. PTO-892                                                      _ Olller
  _ Inlarmallon Disclosure CitatIOn PTO-1449




                                                                                                                                    THOMAS M. HECKLER
                                                                                                                                     PRJMARY EXAMINER
                                                                                                                                        ART UNIT 237



 PTOl-37 (REV,4,89}            1<                                                                                                                USCOMM·DC 89-37B9




                                                                                                                              OAGOOGLE0000057221
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 34 of 101




        ,
  Serial Number: 07/994,655                                             -2-
  Art unit: 2316

  1.        An Examiner's Amendment to the record appears below.    Should
  the changes and/or additions be unacceptable to applicant, an
  amendment may be filed as provided by 37 C.F.R. § 1.312.         To
   ensure consideration of such an amendment, it MUST be submitted
  no later than the payment of the Issue Fee.
            Authorization for this Examiner's Amendment was given in a
  telephone interview with Mr. Jeffrey Blatt on May 26, 1994.
   2.       The application has been amended as follows:
   IN THE CLAIMS:          /
   Claim 1, line 17,4ange "instruction" to --instructions--;
   Claim 10, line 2, change the     ~n        to a period;
                 delete lines   3-~
   3.       The following is an Examiner's statement of Reasons for
  Allowance: the prior art, either alone or in combination, does
   not teach a method or apparatus for generating executable code
   from source code comprising generating executable code in
   intermediate form with data references made on a symbolic basis,
   interpreting instructions, replacing symbolic references with
   ~u~er~c     references and continuing interpretation without
   advancing program execution, obtaining data as numeric references
   are encountered and continuing interpretation after advancing
   program execution.
            Any comments considered necessary by applicant must be
   submitted no later than the payment of the Issue Fee and, to
   avoid processing delays, should preferably accompany the Issue




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 35 of 101




   serial Number: 07/994,655                                         -3-
   Art unit: 2316

   Fee.   Such sUbmissions should be clearly labeled "Comments on
   statement of Reasons for Allowance."
   4.   Any inquiry concerning this communication or earlier
   communications from the examiner should be directed to Tom
   Heckler whose telephone number is (703) 305-9666.




   TH
   May 26, 1994
                                                 THOMAS M. HECKLER
                                                  PRIMARY EXAMINER
                                                     ART UNIT 237




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 36 of 101




                     Exhibit B-2
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 37 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 38 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 39 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 40 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 41 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 42 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 43 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 44 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 45 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 46 of 101
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 47 of 101




                     Exhibit B-3
    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 48 of 101




          149907-0064                                                                                            PATENT


                                 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


            In re reissue application of                       )    CERTIFICATE OF MAILING BY "EXPRESS MAIL"
                                                               )
            U.S. Patent No. 5,367,685                          )   "EXPRESS MAIL· Mailing Label Number
                                                               )   EM458150000US
            Issued: November 22, 1994                          )
                                                               )   November 21. 1996
                                                                   Date of Deposit
            Inventor: James Gosling             )
                                                )                  I hereby certify that this paper or fee is being deposited
            For:      METHOD AND APPARATUS FOR )                   with the United States Postal Service "EXPRESS MAIL
                      RESOLVING DATA REFERENCES )                  POST OFFICE TO ADDRESSEE" service under 37
                      IN GENERATED CODE         )                  C.F.R. § 1.10 on the date indicated above and is
                                                )                  addressed to the Commissioner of Patents and
                                                                   Trademarks. Washington, D.C. 20231.
                                                )
                                                )
                                                )                  Typed
                                                )
                                                )
                                                )
                                                )
                                                )                  November 21
                                                                   Date

.. 1                                      REISSUE APPLICATION DECLARATION
'-::::r
                                         AND POWER OF ATIQRNEY BY INVENTOR

                   Hon. Commissioner of
                    Patents and Trademarks
                   Washington, D.C. 20231

                   Sir:

                   I, James Gosling, declare:

                          1. I have reviewed and understand the contents of the specification and claims of the

                   above-identified reissue application, and believe myself to be the only inventor of the

                   invention described and claimed in the aforesaid reissue application and in U.S. Letters

                   Patent No. 5,367,685 on which said reissue application is based.

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     Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 49 of 101




",




            U.S. Patent No. 5,367,685
            Page 2



                2. I do not know and do not believe that said invention was ever known or used in

            the United States of America before the invention thereof by myself.

                3. U.S. Patent No. 5,367,685 is partly inoperative because it claims less than I had

            a right to claim in the patent (37 C.F.R. § L175(a)(3».

                4. The insufficiencies identified in paragraph 3 above arose as a result of errors on

            the part of applicant. The first error was failing to realize that the commercial

            embodiment of the invention was designed to be distributed in two parts, a compiler and

            an interpreter, which were to be packaged as two separate computer programs and which

            could be bought separately. My company and I realized on or around January of 1996

            that competitors would probably also be shipping their competing products in two parts

            for the same market- and technology-related reasons that we were doing so. An

            infringer who shipped only one of those parts might argue that no claim reads on the

            compiler or the interpreter separately. I believe that I have the right to claim more

            specifically a compiler and an interpreter separately as supported by the original

            disclosure. This error may be remedied by the addition of claims 11-34 in the above-

            identified reissue application, which more specifically separately claim the compiler and

            the interpreter as disclosed in the application. Moreover, claiming the compiler and the

            interpreter separately, although they involve common inventive concepts, more closely

            corresponds to likely commercial embodiments for my invention.

                5. A further error was a lack of specificity in the claim scope as regards what is

            done with the numerical values corresponding to symbolic references. In late 1995 or

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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 50 of 101




        U.S. Patent No. 5,367,685
        Page 3



        early 1996 a colleague suggested that an infringer could argue that the claims would not

        ,literally read on all possible ways of practicing the invention as regards numerical values

        corresponding to symbolic references. I believe I have a right to claim more specifically

        the handling of numerical values corresponding to symbolic references in my invention.

        This error may be remedied by the addition of claims 11 and 25 in the above-identified

        reissue application which more fully define the patentable aspects of my invention as

        supported by the disclosure.

             6. A further error was that the claims may be challenged by an infringer as not

        reading literally on computer program code devices embodying the invention. Applicant

        is informed and believes that subsequent to the Commissioner of Patents' change of

        position in In re Beauregard, claims more specifically directed to computer program

        code devices are now permissible. I believe I have the right to further specifically claim

        computer program code devices which embody my invention as supported by the original

        disclosure. This error may be remedied by claims 29-32 of the above identified reissue

        application.

             7. The errors identified above arose without any deceptive intention on the part of

        the undersigned or the assignee of the application on which U.S. Letters Patent No.

        5,367,685 issued, Sun Microsystems Inc.

             8. Claim 11 is directed to a method for interpreting software in an intermediate

        form code which includes instructions that contain symbolic references. In the method,

        instructions are interpreted in accordance with a program execution control. When an

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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 51 of 101




       U.S. Patent No. 5,367,685
       Page 4



       unresolved symbolic reference is encountered, a numerical value corresponding to the

       reference is determined and stored in memory. When a resolved symbolic reference is

       encountered, the instruction is interpreted by reading the stored numeric value. Claim

       22 is directed to a corresponding method for compiling software into an intermediate

       form code which includes instructions that contain symbolic field references. In that

       method, the source code is lexically analyzed, the output of the lexical analysis step is

       parsed, an intermediate representation of the parsed output is built, and intermediate

       form code containing symbolic field references is generated from the intermediate

       representation. Both the interpreter claim 11 (and independent claims 25, 27, 29, 31,

n      and 33) and the compiler claim 22 (as well as independent claims 26, 28, 30, 32, and

U      34) embody my original inventive concept, in that the compiler generates the

       intermediate form code, including symbolic references, which the interpreter interprets.

           9. I acknowledge a duty to disclose information I am aware of which is material to

       the examination of this reissue application. The closest prior art known to applicant is

       that cited against the application which became original U.S. Patent No. 5,367,685.

           10. I hereby revoke all previous powers of attorney and appoint as my attorneys of

       record in connection with this reissue application Matthew C. Rainey, Reg. No. 32,291;

       Jeffrey J. Blatt, Reg. No. 30,244; Robert Steinberg, Reg. No. 33,144; Bruce D.

       Kuyper, Reg. No. 33,937; Gary Frischling. Reg. No. 35,515; Robert Strawbrich, Reg.

       No. 36,692; and Wen Liu, Reg. No. 32,822. All communications regarding this reissue




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 52 of 101




       u.s. Patent No. 5,367,685
       Page 5



       application are to be addressed to Jeffrey J. Blatt at Irell & Manella LLP, 1800 Avenue

       of the Stars, Suite 900, Los Angeles, CA 90067.

            I declare further that all statements made herein of my own knowledge are true and

       that all statements made on information and belief are believed to be true; and further

       that these statements were made with the knowledge that willful false statements and the

       like so made are punishable by fine or imprisonment, or both, under Section 1001 of

       Title 18 of the United States Code and that such willful false statements may jeopardize

       the validity of the application or any patent issuing thereon.




       Full name of sole or fir
       Inventor's signature~&IiQ"""''--''-"''''''f''--Ei~'4::-_ _~_ _ _ _ _ _ _ _ _ _ __
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                                                                                                      1"~...",...~9
                                                                                                PATENT
                                                                      Attorney Docket No. 06502.0083-02

                                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

                         In re Application of:

                         James GOSLING

                         Serial No.: Rule 53(b) continuation              Group Art Unit: Unassigned
                          application of Serial No.
                          081755,764                                      Examiner: Unassigned

                         Filed:    November 21, 1996

                         For: METHOD AND APPARATUS
                               FOR RESOLVING DATA
                              REFERENCES IN
                               GENERATED CODE

                         Assistant Commissioner for Patents
                         Washington, D.C. 20231

                         Sir:

                                                        PRELIMINARY AMENDMENT

                                  Prior to the examination of the above application, please amend this application

                         as follows:



                         IN THE CLAIMS:      J
                                  Please cancel claim 1 and add the following new claims 35-43:

             . --1---·          t I --~ An apparatus comprising:
              --
                   I
                   j
                   I
                   I
                          '0~     a memory containing   inte~edia~e form object code constituted by a set of
   LAW OFFICES
                   ,i    instructions certain of said instructions containing one or more symbolic references·

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FARABOW, CARREi:r,-
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        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 54 of 101




                                   a processor configured to execute said instructions containing one or more

                        symbolic references by determining a numerical reference corresponding to said

                        symbolic reference, storing said numerical references and obtaining data in

                        accordance to said numerical references.



                           ; (;l/38':    A computer-readable medium containing instructions for controlling a data

                        processing system to perform a method for interpreting intermediate form object code

                        comprised of instructions certain of said instructions containing one or more symbolic

                        references, said method comprising the steps of:

                                   interpreting said instructions in accordance with a program execution control:



                         ~)~r!ilSQlvinQ a symbQlic rererenC!il in an inslru!;tion being interpreted   §aid step of

                        resolving said symbolic reference including the substeps of:

                                         determining a numerical reference corresponding to said symbolic

                        reference. and

                                         storing said numerical reference in a memory.



                           1
                               3
                               ~.        A computer-implemented method for executing instructions certain of

                        said instructions containing one or more symbolic references said method comprising

                        the steps of:

                               resolving a symbolic reference in an instruction said
                                                                                  . ~
                                                                                     step of
                                                                                          -.
                                                                                             resolving said
  LAW   OF'FI~E:$
fNECAN, HE~N,           symbolic reference including the substet's of:
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        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 55 of 101




                                        determining a nymerical reference corresponding to said symbolic

                          reference and

                                        storing said numerical reference in a memory.


                                                              3
                                        The method of claim ~wherein said substep of storing said numerical
                                                           --..-
                          reference comprises the substep of replacjng said symbolic reference with said

                          numerical reference.


                                                              :3
                                        The method of claim 'Yf. wherein said step of resolving said symbolic

                          reference further comprises the substep of executing said instruction containing said

                          symbolic reference using the stored numerical reference.


                                                              J
                                        The method of claim 3?; wherein said step of resolving said symbolic

                          reference further comprises the substep of advancing program execution control after
      LJ
                          said substep of executing said instruction containing said symbolic reference.




                              t~        In a computer system comprising a program, a method for executing said

                          program comprising the steps of:

                                receiving intermediate form object code for said program with symboljc data

                          references in certain instructions of said intermediate form object code' and

                                converting the instructions of the intermediate form object code having symbolic

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                          data references said converting step comprising the substeps of;
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 .\\ DUNNER, L. L. P.
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        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 56 of 101




                                     resolving said symbolic references to corresponding numerical references.

                                     storing said numerical references. and

                                     obtaining data in accordance to said numerical references.


                                   Jg,9.    A computer-implemented method for executing program operations. each

                              operation being comprised of a set of instructions certain of said instructions containing

                              one or more symbolic references said method comprising the steps of:

                                     receiving a set of instructions reflecting each operation: and

                                     performing an operation corresponding to the received set of instructions.

                              wherein each of said symbolic references is resolved by determining a numerical

                              reference corresponding to said symbolic reference. storing said numerical reference.

                              and obtaining data in accordance to said stored numerical reference.



                                            A memory for use in executing a program by a processor the memory

                              comprising'

                                    intermediate form code containing symbolic field references associated with an

                              intermediate representation of source code for the program.

                                    the intermediate representation having been generated by lexically analyzing the

                              source code and parsing output of said lexical analysis and
                                                                                      l




                                    wherein the symbolic field references are resolved by determining a numerical


                          ~
                              --
     ~WO"'FleES       ,

FINNEGAN, HENDE~,             reference in a memory.--
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    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 57 of 101




                                                                  REMARKS

                                 This application is a continuation of reissue application Serial No. Oan55,764.

                          Claims 1-34 of the parent application have been allowed. Thus, Applicant has

                          cancelled those claims in this application.

                                 Applicant submits this preliminary amendment for the Examiner to consider new

                          claims 35-43.

                                 The Commissioner is hereby authorized to charge any fees which may be

                          required including fees due under 37 C.F.R. § 1.16 and any other fees due under 37

                          C.F.R. § 1.17, or credit any overpayment during the pendency of this application, to

                          Deposit Account No. 06-0916.

                                                                    Respectfully submitted,

                                                                    FINNEGAN, HENDERSON, FARABOW,
                                                                         GARRETT & DUNNER, L.L.P.




                          Dated: March 3, 1999




FINNEGAN, HENDERSON,
  FARABOW, GARRETT,
   e DUNNER,L.L.P.
  1300 1 STREET, N. W.
WASHINGTON, D. C. 20005
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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 58 of 101




                     Exhibit B-4
           Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 59 of 101




                                 UNITED STATES PATENT APPLICATION

                                                of

                                           FRANK YELLIN

                                               and

                                         RICHARD D. TUCK

                                                for

                                 METHOD AND SYSTEM FOR PERFORMING

                                       STATIC INITIALIZATION
    ~-.:




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           Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 60 of 101




                           What is claimed is:

                                   1.      A method in a     ta processing system for statically initializing an array, comprising

                           the steps of:

                                           compiling source c     e containing the array with static values to generate a class file

                           with a c1init method containing byte odes to statically initialize the array to the static values;




                                           play executing the byte c     e of the c1init method against a memory to identify the
     ! .
     l'


                                           storing into an output file an in truction requesting the static initialization of the array;

                           and

                                           interpreting the instruction by a irtual machine to perform the static initialization of

                           the array.




                                   2.      The method of claim 1 wherein the storing step includes step of:

                                           storing a constant pool entry into the constant pool.




                                   3.      The method of claim 1 wherein the play executing step includes the steps of:

                                           allocating a stack;

                                           reading a byte code from the clinit method that manipulates the stack; and

                                           performing the stack manipulation on the allocated stack.


INNEGAN, HENDERSON,
 FARABOW, GARRETT,
   S DUNNER,L.LP.
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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 61 of 101




                                                                                                 UNITED STA~S DEPARTMENT OF COMMERCE
                                                                                                 Patent and Trademark Office
                                                                                                 Address:   COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                                                            Washington, D.C. 20231

          APPLICATION NO.             FlLlNG DATE                                FIRST NAMED INVENTOR                              ATTORNEY DOCKET NO.

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                                                                                                                                   EXAMINER
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       Please find below andlor attached an Office communication concerning this application or
       proceeding.
                                                                                                                  Commluloner of Patents and Trademarks




  PTO-90C (Rev, 21951                                                                                                                            1· File Copy




                                                                                                                  OAGOOGLE0000057503
       Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 62 of 101




                                                                                             Application No.
                                                                                                   09/055,947                                Frank Yallin, Richard D. Tuck
                      Office Action Summary                                                  Examiner                                          Group Art Unit
                                                                                                         Kelvin E. Booker                           2762


    o    Responsive to communication(s) filed on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o    This action is FINAL.
    o    Since this application is in condition for allowance except for formal matters, prosecution as to the merits is closed
         in accordance with the practice under Ex parte Quay/e, 1935 C.D. 11; 453 O.G. 213.
    A shortened statutory period for response to this action is set to expire     3      month(s), or thirty days, whichever
    is longer, from the mailing date of this communication. Failure to respond within the period for response will cause the
    application to become abandoned. (35 U.S.C. § 133). Extensions of time may be obtained under the provisions of
    37 CFR 1.136(a).

    Disposition of Claims
         IX] Claim(s)        -=-1-=-2::.!3~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                               is/are pending in the application.

                Of the above, claim(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is/are withdrawn from consideration.
         IX] Claim!s)        ~6-=-2::.!3:......_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                 islare allowed.

         IX] Claim(s)        .!.1...!;a:!,;n~d__=3::....- _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                      islare rejected.

         !Xl    Claim!s) 2, 4, and 5                                                                                                         is/are objected to.
         o Claims                                                                                            are subject to restriction or election requirement.

    Application Papers
         o See the attached Notice of Draftsperson's Patent Drawing Review, PTO-948.
         IXI The drawing(s) filed       on _.....:..A.3.p~r~7'...!.,--'1:....:9::..::9:...::8:......_ is/are objected to by the Examiner.
         o The proposed drawing correction, filed on _ _ _ _ _ _ _ _ is                                                [Bpproved             [)jisapproved.
         o The specification is objected to by the Examiner.
         o The oath or declaration is objected to by the Examiner.
    Priority under 35 U.S.C. § 119
         o Acknowledgement is made of                   a claim      for foreign priority und~r 35 U.S. C. § 119(aHd).
                o All 0 Some· 0 None of the CERTIFIED copies of the priority documents have been
                  o received.
                  o received in Application No. (Series Code/Serial Number) _ _ _ _ _ _ __
                  o received in this national stage application from the International Bureau (PCT Rule 17.2(a)).
                *Certifiedcopies not received:             _~_ _~~~~~~_~_ _ _ _~_ _ _ _ _ _ _ _ _ _~_~

         o      Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).

    Attachment(s)
          IXI   Notice of References Cited, PTO-892
          IXI   Information Disclosure Statement(s), PTO·1449, Paper No(s).                                        2
          o Interview Summary, PTO·413
          o     Notice of Draftsperson's Patent Drawing Review, PTO-948
          o Notice of Informal Patent Application, PTO-152


                                                       -    SEE OFFICE ACTION ON THE FOLLOWING PAGES -

U. S. Pacen! an<j Trod,,",,", Offic.
PTO-326 !Rev. 9-95)                                                           Office Action Summery                                                    Part of Paper No. ~_3__




                                                                                                                                            OAGOOGLE0000057504
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 63 of 101




   Application/Control Number: 09/055,947                                                                            Page 2

   Art Unit: 2762



                                                DETAILED ACTION



                                                         Drawings

   1.     This application has been filed with informal drawings which are acceptable for

   examination purposes only. Formal drawings will be required when the application is allowed.



                                          Claim Rejections - 35 USC § 102

   2.     The following is a quotation of the appropriate paragraphs of35 U.S.C. 102 that form the

   basis for the rejections under this section made in this Office action:

          A person shall be entitled to a patent unless --

          (b) the invention was patented or described in a printed publication in this or a foreign country or in public use
          or on sale in this country, more than one year prior to the date of application for patent in the United States.




   3.     Claims 1 and 3 are rejected under 35 U.S.c. 102(b) as being anticipated by Ciemiak,

   "Briki: an optimizing Java compiler".

          As per claim 1, Ciemiak teaches of a method for statically initializing an array

   comprising the steps of:

          a. compiling source code containing an array with static values to generate a class file

   with a class initialization (cinit) method (see page 179, abstract and section 1, generating lavaIR

   (Java Intermediate Representation));




                                                                                            OAGOOGLE0000057505
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 64 of 101




    Application/Control Number: 091055,947                                                           Page 3

    Art Unit: 2762



            b. receiving a class file into a preloader (see page 181, section 3, recovering high-level

    structure) ;

            c. compare the execution of byte codes ofthe cinit method against memory to identify

   the static initialization of an array by the preloader (see page 18 I, section 3, mapping between

    JavaIR and Java Source);

            d. storing into an output file an instruction requesting the static initialization of an array

    (see page 183, section 4.1, array layout optimization); and

            e. interpreting the instruction by a virtual machine to perform the static initialization of

   the array (see page 182, section 3.2, symbolic emulation).

            As per claim 3, Cierniak teaches of a method whereby play executing comprise the steps:

            a. allocating a stack (see page 182, section 3.2, stack allocation);

            b. reading byte code from the clint method that manipulates the stack (see page 182,

   section 3.2, stack recovery); and

            c. performing stack manipulation on the allocated stack (see page 182, sections 3.2-3.3,

   stack recovery and manipulation).



                                         Allowable Subject Matter

   4.       Claims 2,4 and 5 are objected to as being dependent upon a rejected base claim, but

    would be allowable if rewritten in independent form including all of the limitations of the base

    claim and any intervening claims. Claims 6-23 are allowed.




                                                                               OAGOOGLE0000057506
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 65 of 101




   Application/Control Number: 091055,947                                                       Page 4

   Art Unit: 2762



   5.     The following is a statement of reasons for the indication of allowable subject matter: the

   cited prior art above in the examination fails to teach of:

          a. constant pool storage; and

          b. explicit operations (e.g., initialization, allocation, manipulation and simulation) with

   respect to "play" execution.



                                                Conclusion

          An inquiry concerning this communication or earlier communications from the examiner

   should be directed to Kelvin Booker whose telephone number is (703) 308-4088. The examiner

   can normally be reached on Monday-Thursday from 7:00 AM-5:30 PM EST.

          If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  . supervisor, Tariq Hafiz, can be reached on (703) 305-9643. The fax phone number for the

  organization where this application or proceeding is assigned is (703) 308-1396.

          An inquiry of a general nature or relating to the status of this application proceeding

   should be directed to the receptionist whose telephone number is (703) 305-3900.



   Kelvin E. Booker

   Patent Examiner

   Group Art Unit 2762




                                                                            OAGOOGLE0000057507
         Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 66 of 101




                                                                                                                 PATENT
                                                                                         Attorney Docket No. 06502.0046-00

                                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE                                         ~

                         In re Application of:

                         Frank Yellin et al.

                         Serial No.: 09/055,947                                   Group Art Unit: 2762

                         Filed: April 7, 1998                                     Examiner: Kelvin E. Booker

                         For: METHOD AND SYSTEM FOR                                                          -1
                                                                                                             C")
                              PERFORMING STATIC                                                              ['c'
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                                                                                                                                    :-::1
                              INITIALIZATION                                                                                        "'1
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                                                                                                                                       iK,
                         Assistant Commissioner for Patents                                                            \,,':')
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                         Washington, D.c. 20231                                                                                        il
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                                                                                                               c;
                         Sir:                                                                                   (~.




                                                                     AM.ENDMENT

                                 Applicants submit this amendment in response to the Office Action dated

                         July 21, 1999.




                         IN THE CLAIMS:

                                 Please amend claim 1 as follows:

                                 1.       (Amended) A method in a data processing system for statically initializing an



       (11               array, comprising the steps of:

                                          compiling source code containing the array with static values to generate a class

                         file with a clinit method containing byte codes to statically initialize the array to the static values;
     LAW OFFIC~$

FINNEGAN, HENDERSON,
  FARABOW, GARRETT,                       receiving the class file into a preloader;
   ~ DUNNER,L.L.P.
  1300 1 STREET, N. W.
WASHINGTON, D. C.20005
    202-408 -4000




                                                                                            OAGOOGLE0000057510
         Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 67 of 101




                                           simulating execution of [play executing] the byte codes of the clinit method

                           against a memory without executing the byte codes to identify the static initialization of the array

                           by the preloader;

                                           storing into an output file an instruction requesting the static initialization of the

                           array; and

                                           interpreting the instruction by a virtual machine to perform the static initialization

                           of the array.



                                                                        REMARKS

                                   Claims 1-23 are pending in the application. In the Office Action, the Examiner rejected

                           claims 1 and 3 under 35 V.S.c. §102(b) as being anticipated by Ciemiak, "Brild: an optimizing

                           Java compilern; objected to claims 2, 4, and 5 as depending upon a rejected base claim; and

                           allowed claims 6-23. Responsive to the rejection of claims 1 and 3, applicants have amended

                           claim 1 to more particularly point out and distinctly claim the subject matter of applicants'

                           invention.

                                   Applicants wish to thank the Examiner for his consideration during the telephone

                           interview with applicants' attorney on October 13, 1999. During the interview, applicants'

                           attorney and the Examiner agreed on an amendment to claim 1 that would further clarify the

                           distinctions between the claim and the cited art. Applicants' attorney and the Examiner also

                           agreed that this amendment rendered all of the pending claims allowable over the cited art,

                           although a subsequent search by the Examiner would be performed.

     ~W O~"1ICE.
                                   Based upon the above amendments and remarks, applicants submit that all of the pending
FINNEGAN, !-f'ENDERSON,
  fARABOW, CARRETT,
   a DUNN~&l-.L.P.
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WASHINGTON,   o. C.2000S                                                     -2-
    202-408·4000




                                                                                             OAGOOGLE0000057511
         Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 68 of 101




                          claims are either allowed or clearly allowable, and thus, applicants request the issuance of a

                          Notice of Allowance. Additionally, applicants respectfully request that the Examiner call

                          applicants l attorney if it would expedite prosecution.

                                  Please grant any extensions of time required to enter this response and charge any

                          additional required fees to our deposit account 06-0916.

                                                                         Respectfully submitted,



                                                                         By gR,L.L.P,
                                                                         FINNEGAN, HENDERSON, F ARAB OW,




                                                                                    Reg. No. 38.939


                          Dated: October 18, 1999                                                        --I
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  FARABOW, GARRETT,
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      Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 69 of 101




                                                          UNITED STATES DEPARTMENT OF COMMERCE
                                                          Patent and Trademark Office
                                                          Address:   COMMISSIONER OF PATENTS AND TRADEMARKS
                                                                     Washington, D.C. 20231

         APPUCATION NO.      FlUNG DATE           FIRST NAMED INVENTOR                      ATTORNEY DOCKET NO.
                                                VELLJN                                 F~        U ",', F", 0 ';..: ,. (I (14 t,



                                                   LlYlll/01.04      "I                     EXAMINER

               FINNEGAN HENDERSON FARABOW GARRErT

                1 :10(1 I i.:frr~EE"T NW                                        ART UNIT          PAPER NUMBER
               lIJAf;I-IINGirCIf\! DC 2000F.,

                                                                             DATE MAILED:           1.11/04/0(1




     Please find below and/or attached an Office communication concerning this application or
     proceeding.
                                                                           Commissioner of Patents and Trademarks




PTO-BOC (Rllv. 219111                                                                                      1- FUll Copy




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        Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 70 of 101




                                                                   Application No.
                                                                         091055,947                       Yellin etal.
                      Notice of AllowabiJity                       Examiner                        Group Art Unit
                                                                              Kelvin E. Booker           2762

    All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
    herewith (or previously mailed), a Notice of Allowance and Issue Fee Due or other appropriate communication will be mailed
    in due course.

    ~ This communication is responsive to      Amendment mad October 18 1999 (see paper no. 4)
    Qg The altowed claim(s) is/are -!..1-..!:2~3_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o The drawings filed on _ _ _ _ _ _ _ _ _ are acceptable.
    o Acknowledgement is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d).
      o All OSome* [fiJone of the CERTIFIED copies of the priority documents have been
         o received.
         o received in Application No. (Series Code/Serial Number) _ _ _ _ _ _ _ __
         o received in this national stage application from the International Bureau (PCT Rule 17.2(a)).
         ·Certified copies not received: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o    Acknowledgement is made of a claim for domestic priority under 35 U.S.C. § 119(e).

    A SHORTENED STATUTORY PERIOD FOR RESPONSE to comply with the requirements noted below is set to EXPIRE
    THREE MONTHSl:OM THE "DATE MAILED" of this Office action. Failure to timely comply will result in
    ABANDONMENT of this application. Extensions of time may be obtained under the provisIons of 37 CFR 1.136(a)

    o    Note the attached EXAMINER'S AMENDMENT or NOTICE OF INFORMAL APPLICATION, PTO-152, which discloses that
         the oath or declaration is deficient. A SUBSTITUTE OATH OR DECLARATION IS REQUIRED.

    Qg Applicant MUST submit NEW FORMAL DRAWINGS
         ~ because the originally filed drawings were declared by applicant to be informal.
         o inctuding changes required by the Notice of Draftsperson's Patent Drawing Review, PTO-948, attached hereto or to
           Paper No. ___ .
         o including changes required by the proposed drawing correction filed on _ _ _ _ _ _ _ _ _ , which has been
             ~pproved       by the examiner.
         o including changes required by the attached Examiner's Amendment/Comment
         Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the reverse side of
         the drawings. The drawings should be filed as a separate paper with a transmittallettter addressed to the Official
         Drafts person.

    o    Note the attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL

    Any response to this letter should include, in the upper right hand corner, the APPLICATION NUMBER (SERIES
    CODE/SERIAL NUMBER). If applicant has received a Notice of Allowance and Issue Fee Due, the ISSUE BATCH NUMBER
    and DATE of the NOTICE OF ALLOWANCE should also be included.
    Attachment(s)
        ~ Notice of References Cited, PTO-892
         o Information Disclosure Statement(s), PTO-1449, Paper No(s). _ _ __
         o Notice of Draftsperson's Patent Drawing Review, PTO-948
         o Notice of Informal Patent Application, PTO-152
         Qg Interview Summary, PT0-413
         o Examiner's Amendment/Comment
         o Examiner's Comment Regarding Requirement for Deposit of Biological Material
         ~ ExamIner's Statement of Reasons for Allowance


U $ Patent and Trademark OfIlce
PTO-37 (Rev. 9-95)                                        Notice of Allowabilfty                           Part of Paper No __6_ _




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 71 of 101




   Application/Control Number: 09/055,947                                                         Page 2

   Art Unit: 2762




                                       Allowable Subject MaUer

   1.     The following is an examiner's statement of reasons for allowance:

          the cited prior art, either singly or in combination, fails to anticipate or render obvious the

   simulation of execution with respect to class initialization, without executing byte codes.

          Cierniak, "Briki: An Optimizing Java Compiler", teaches of comparing the execution of

   byte codes, but fails to address the issue of simulating the process without execution.

          Any comments considered necessary by applicant must be submitted no later than the

  payment of the issue fee and, to avoid processing delays, should preferably accompany the issue

   fee. Such submissions should be clearly labeled "Comments on Statement of Reasons for

  Allowance. "



                                               Conclusion

  2.      An inquiry concerning this communication or earlier communications from the examiner

  should be directed to Kelvin Booker whose telephone number is (703) 308-4088. The examiner

  can normally be reached on Monday-Thursday from 7:00 AM-5:30 PM EST.

          If attempts to reach the examiner by telephone are unsuccessful, the examiner's

  supervisor, Tariq Hafiz, can be reached on (703) 305-9643. The fax phone number for the

  organization where this application or proceeding is assigned is (703) 308-1396.




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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 72 of 101




   Application/Control Number: 09/055,947                                                       Page 3

   Art Unit: 2762



          An inquiry of a general nature or relating to the status of this application proceeding

   should be directed to the receptionist whose telephone number is (703) 305-3900.



   Kelvin E. Booker

   Patent Examiner

   Group Art Unit 2762




                                                                           OAGOOGLE0000057516
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 73 of 101




                       Exhibit C
          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 74 of 101




                                EXEMPLARY LIST OF SUN PATENTS


          The following patents are examples of Sun patents claiming carrier waves or including

carrier waves in definitions of "computer-readable medium" or similar terms.




     Filing Date       Patent Number      Example Citation
     7/1/96            US 5,953,522       17:32-34 (Claim “15. The computer program
                                          product of claim 14 wherein the computer readable
                                          medium is a data signal embodied in a carrier
                                          wave.”)

     4/23/97           US 5,903,899       17:30–39 (“Such implementation may comprise a
                                          series of computer instructions either fixed on a
                                          tangible medium, such as a computer readable
                                          media, e.g. diskette, CD-ROM, ROM, or fixed disk,
                                          or transmittable to a computer system, via a modem
                                          or other interface device, such as communications
                                          adapter connected to a network over a medium.
                                          Medium can be either a tangible medium, including
                                          but not limited to optical or analog communications
                                          lines, or may be implemented with wireless
                                          techniques, including but not limited to microwave,
                                          infrared or other transmission techniques.”)

     6/30/97           US 5,978,588       10:54–58 (Claim “3. A computer data signal
                                          embodied in a carrier wave and representing
                                          sequences of instructions which, when executed by
                                          a processor, cause said processor to compile a
                                          source program into an object program, optimally
                                          placing code blocks of the source program, by
                                          performing the steps of . . .”)

     10/6/97           US 5,970,249       16:51–53 (Claim “25. A computer-readable medium
                                          as recited in claim 24 wherein the computer
                                          program code devices are embodied in a carrier
                                          wave.”)

     12/11/97          US 6,047,377       5:7–15 (“Common forms of computer-readable
                                          media include, for example, a floppy disk, a flexible


1247474
          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 75 of 101




                                    disk, hard disk, magnetic tape, or any other
                                    magnetic medium, a CD-ROM, any other optical
                                    medium, punchcards, papertape, any other physical
                                    medium with patterns of holes, a RAM, a PROM,
                                    and EPROM, a FLASH-EPROM, any other
                                    memory chip or cartridge, a carrier wave as
                                    described hereinafter, or any other medium from
                                    which a computer can read.”)

     12/11/97       US 6,044,467    5:26–34 (“Common forms of computer-readable
                                    media include, for example, a floppy disk, a flexible
                                    disk, hard disk, magnetic tape, or any other
                                    magnetic medium, a CD-ROM, any other optical
                                    medium, punchcards, papertape, any other physical
                                    medium with patterns of holes, a RAM, a PROM,
                                    and EPROM, a FLASH-EPROM, any other
                                    memory chip or cartridge, a carrier wave as
                                    described hereinafter, or any other medium from
                                    which a computer can read.”)

     12/12/97       US 5,946,489    11:1–7 (“Common forms of computer-readable
                                    media include, for example, a floppy disk, a flexible
                                    disk, hard disk, magnetic tape, or any other
                                    magnetic medium, a CD-ROM, any other optical
                                    medium, punchcards, papertape, any other physical
                                    medium with patterns of holes, a RAM, a PROM,
                                    EPROM, a FLASH-EPROM, any other memory
                                    chip or cartridge, a carrier wave as described below,
                                    or any other medium from which a computer can
                                    read.”)

     5/27/98        US 5,983,021    6:44–51 (“Also, although aspects of one
                                    embodiment are depicted as being stored in memory
                                    303, one skilled in the art will appreciate that
                                    systems and methods consistent with the present
                                    invention may be stored on other computer-readable
                                    media, such as secondary storage devices, like hard
                                    disks, floppy disks, and CD-ROM; a carrier wave
                                    received from the Internet 302; or other forms of
                                    ROM or RAM.”)

     6/29/98        US 6,115,715    16:42–47 (Claim “15. A computer data signal
                                    embodied in a carrier wave and representing
                                    sequences of instructions arranged to update a Java
                                    system configuration database having a client
                                    schema containing persistent and transient data, and


1247474
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          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 76 of 101




                                    a server schema containing persistent data, the
                                    sequence of instructions comprising: . . .”)

     6/30/98        US 6,272,517    13:41–45 (Claim “22. A computer data signal
                                    embodied in a carrier wave and representing
                                    sequences of instructions which, when executed by
                                    a processor, cause the processor to share a time
                                    quantum between threads in a process by
                                    performing the steps of: . . .”)

     6/30/98        US 6,271,838    5:16–53 (“The term "computer-readable medium"
                                    as used herein refers to any media that participates
                                    in providing instructions to processor 604 for
                                    execution. Such a medium may take many forms,
                                    including but not limited to, non-volatile media,
                                    volatile media, and transmission media. Non-
                                    volatile media includes, for example, optical or
                                    magnetic disks, such as storage device 610. Volatile
                                    media includes dynamic memory, such as Memory
                                    606. Transmission media includes coaxial cables,
                                    copper wire, and fiber optics, including the wires
                                    that comprise bus 602. Transmission media can also
                                    take the form of acoustic or light waves, such as
                                    those generated during radio-wave and infra-red
                                    data communications.
                                    Common forms of computer-readable media
                                    include, for example, a floppy disk, a flexible disk,
                                    hard disk, magnetic tape, or any other magnetic
                                    medium, a CD-ROM, any other optical medium,
                                    punch cards, papertape, any other physical medium
                                    with patterns of holes, a RAM, PROM, and
                                    EPROM, a FLASH-EPROM, any other memory
                                    chip or cartridge, a carrier wave as described
                                    hereinafter, or any other medium from which a
                                    computer can read.
                                    Various forms of computer readable media may be
                                    involved in carrying one or more sequences of one
                                    or more instructions to processor 604 for execution.
                                    For example, the instructions may initially be
                                    carried on magnetic disk of a remote computer. The
                                    remote computer can load the instructions into its
                                    dynamic memory and send the instructions over a
                                    telephone line using a modem. A modem local to
                                    computer system 600 can receive the data on the
                                    telephone line and use an infra-red transmitter to


1247474
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          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 77 of 101




                                    convert the data to an infra-red signal. An infra-red
                                    detector coupled to bus 602 can receive the data
                                    carried in the infra-red signal and place the data on
                                    bus 602. Bus 602 carries the data to memory 606,
                                    from which processor 604 retrieves and executes the
                                    instructions. The instructions received by memory
                                    606 may optionally be stored on storage device 610
                                    either before or after execution by processor 604.”)

     10/15/99       US 6,853,868    10:10–15 (“The computer-readable medium can
                                    also be distributed as a data signal embodied in a
                                    carrier wave over a network of coupled computer
                                    systems so that the computer-readable code is stored
                                    and executed in a distributed fashion.”)

     5/19/00        US 6,542,920    17:50–18:3 (“The term "computer-readable
                                    medium" as used herein refers to any medium that
                                    participates in providing instructions to processor
                                    604 for execution. Such a medium may take many
                                    forms, including but not limited to, non-volatile
                                    media, volatile media, and transmission media.
                                    Non-volatile media includes, for example, optical or
                                    magnetic to disks, such as storage device 610.
                                    Volatile media includes dynamic memory, such as
                                    main memory 606. Transmission media includes
                                    coaxial cables, copper wire and fiber optics,
                                    including the wires that comprise bus 602.
                                    Transmission media can also take the form of
                                    acoustic or electromagnetic waves, such as those
                                    generated during radio-wave, infra-red, and optical
                                    data communications.
                                    Common forms of computer-readable media
                                    include, for example, a floppy disk, a flexible disk,
                                    hard disk, magnetic tape, or any other magnetic
                                    medium, a CD-ROM, any other optical medium,
                                    punchcards, papertape, any other physical medium
                                    with patterns of holes, a RAM, a PROM, and
                                    EPROM, a FLASH-EPROM, any other memory
                                    chip or cartridge, a carrier wave as described
                                    hereinafter, or any other medium from which a
                                    computer can read.”)

     5/19/00        US 6,938,085    14:4–11 (“Common forms of computer-readable
                                    media include, for example, a floppy disk, a flexible
                                    disk, hard disk, magnetic tape, or any other
                                    magnetic medium, a CD-ROM, any other optical


1247474
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          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 78 of 101




                                    medium, punchcards, papertape, any other physical
                                    medium with patterns of holes, a RAM, a PROM,
                                    and EPROM, a FLASH-EPROM, any other
                                    memory chip or cartridge, a carrier wave as
                                    described hereinafter, or any other medium from
                                    which a computer can read.”)

     9/19/01        US 6,499,049    16:45–52 (“Additionally, although aspects of the
                                    present invention are described as being stored in
                                    memory, one skilled in the art will appreciate that
                                    these aspects can also be stored on or read from
                                    other types of computer-readable media, such as
                                    secondary storage devices, like hard disks, floppy
                                    disks, or CD-ROM; a carrier wave from the
                                    Internet; or other forms of RAM or ROM, either
                                    currently know or later developed.”)

     4/1/02         US 6,983,455    10:1–8 (“Common forms of computer-readable
                                    media include, for example, a floppy disk, a flexible
                                    disk, hard disk, magnetic tape, or any other
                                    magnetic medium, a CD-ROM, any other optical
                                    medium, punchcards, papertape, any other physical
                                    medium with patterns of holes, a RAM, a PROM,
                                    and EPROM, a FLASH-EPROM, any other
                                    memory chip or cartridge, a carrier wave as
                                    described hereinafter, or any other medium from
                                    which a computer can read.”)

     5/21/03        US 6,952,760    4:47–61 (“Although aspects of methods, systems,
                                    and articles of manufacture consistent with the
                                    present invention are depicted as being stored in
                                    memory 106, one skilled in the art will appreciate
                                    that these aspects may be stored on or read from
                                    other computer-readable media, such as secondary
                                    storage devices, like hard disks, floppy disks, and
                                    CD-ROMs; a carrier wave received from a network
                                    such as the Internet; or other forms of ROM or
                                    RAM either currently known or later developed.”)

     4/29/04        US 6,980,916    6:39–53 (“Software programming code, which
                                    embodies aspects of the present invention, is
                                    typically maintained in permanent storage, such as a
                                    computer readable medium. In a client/server
                                    environment, such software programming code may
                                    be stored on a client or a server. The software
                                    programming code may be embodied on any of a


1247474
                                           5
          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 79 of 101




                                         variety of known media for use with a data
                                         processing system, This includes, but is not limited
                                         to, magnetic and optical storage devices such as disk
                                         drives, magnetic tape, compact discs (CD's), digital
                                         video discs (DVD's), and computer instruction
                                         signals embodied in a transmission medium with or
                                         without a carrier wave upon which the signals are
                                         modulated. For example, the transmission medium
                                         may include a communications network, such as the
                                         Internet.”)

     7/28/05          US 7,278,132       5:27–31 (“Storage 112 may also include computer-
                                         readable media such as magnetic tape, flash
                                         memory, signals embodied on a carrier wave, PC-
                                         CARDS, portable mass storage devices, holographic
                                         storage devices, and other storage devices.”)
                                         6:34–38 (“The computer-readable medium can also
                                         be distributed as a data signal embodied in a carrier
                                         wave over a network of coupled computer systems
                                         so that the computer-readable code is stored and
                                         executed in a distributed fashion.”)



          More examples may be found by searching the U.S. Patent and Trademark Office online

database. U.S. Patent Full-Text Database Manual Search, available at

http://patft.uspto.gov/netahtml/PTO/search-adv.htm. One such search, which identified 460

candidate patents as of March 17, 2011, is:

          AN/"Sun Microsystems" and "carrier wave" and "computer-readable medium"




1247474
                                                6
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 80 of 101




                       Exhibit D
                                                                 http://www.uspto.gov/web/offices/com/sol/og/2010/week08/TOC.htm
                    Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 81 of 101

           Top of Notices February 23, US PATENT AND TRADEMARK
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         Subject Matter Eligibility of Computer Readable Media

                       Subject Matter Eligibility of Computer Readable Media

            The United States Patent and Trademark Office (USPTO) is obliged to give
         claims their broadest reasonable interpretation consistent with the
         specification during proceedings before the USPTO. See In re Zletz, 893
         F.2d 319 (Fed. Cir. 1989) (during patent examination the pending claims
         must be interpreted as broadly as their terms reasonably allow). The
         broadest reasonable interpretation of a claim drawn to a computer readablle
         medium (also called machine readable medium and other such variations)
         typically covers forms of non-transitory tangible media and transitory
         propagating signals per se in view of the ordinary and customary meaning of
         computer readable media, particularly when the specification is silent.
         See MPEP 2111.01. When the broadest reasonable interpretation of a claim
         covers a signal per se, the claim must be rejected under 35 U.S.C. § 101 as
         covering non-statutory subject matter. See In re Nuijten, 500 F.3d 1346,
         1356-57 (Fed. Cir. 2007) (transitory embodiments are not directed to
         statutory subject matter) and Interim Examination Instructions for
         Evaluating Subject Matter Eligibility Under 35 U.S.C. § 101, Aug. 24, 2009;
         p. 2.

            The USPTO recognizes that applicants may have claims directed to
         computer readable media that cover signals per se, which the USPTO must
         reject under 35 U.S.C. § 101 as covering both non-statutory subject matter
         and statutory subject matter. In an effort to assist the patent community
         in overcoming a rejection or potential rejection under 35 U.S.C. § 101 in
         this situation, the USPTO suggests the following approach. A claim drawn
         to such a computer readable medium that covers both transitory and
         non-transitory embodiments may be amended to narrow the claim to cover only
         statutory embodiments to avoid a rejection under 35 U.S.C. § 101 by adding
         the limitation "non-transitory" to the claim. Cf. Animals - Patentability,
         1077 Off. Gaz. Pat. Office 24 (April 21, 1987) (suggesting that applicants
         add the limitation "non-human" to a claim covering a multi-cellular
         organism to avoid a rejection under 35 U.S.C. § 101). Such an amendment
         would typically not raise the issue of new matter, even when the
         specification is silent because the broadest reasonable interpretation
         relies on the ordinary and customary meaning that includes signals per se.
         The limited situations in which such an amendment could raise issues of new
         matter occur, for example, when the specification does not support a
         non-transitory embodiment because a signal per se is the only viable
         embodiment such that the amended claim is impermissibly broadened beyond
         the supporting disclosure. See, e.g., Gentry Gallery, Inc. v. Berkline
         Corp., 134 F.3d 1473 (Fed. Cir. 1998).

                                                                           DAVID J. KAPPOS
                                                           Under Secretary of Commerce for
                                                                 Intellectual Property and
                                                      Director of the United States Patent
                                                                      and Trademark Office




1 of 1                                                                                                      3/17/2011 11:11 AM
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 82 of 101




                       Exhibit E
 Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 83 of 101


SOFTWARE—PRACTICE AND EXPERIENCE, VOL. 28(12), 1253–1268 (OCTOBER 1998)




          Tailored Compression of Java Class Files

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                                                SUMMARY
Java class files can be transmitted more efficiently over a network if they are compressed. After
an examination of the class file structure and obtaining statistics from a large collection of class
files, we propose a compression scheme that is tailored to class files. Our scheme achieves
significantly better compression than commonly used methods such as ZIP.  1998 John Wiley &
Sons, Ltd.
key words: data compression; Java; class file


                                    INTRODUCTION
The Java programming language1 and its implementation using a Java Virtual
Machine (JVM)2 have greatly simplified the task of developing web-based application
programs. In this and in other roles, Java has been a runaway success. When a Java
program is compiled, it is translated into a collection of class files. Each class file
contains a variety of components, including instructions for the JVM as well as data
constants, interface specifications and other information. When a remote user executes
a Java applet, the class files are downloaded over the internet onto the user’s
machine and interpretively executed by a copy of the JVM on that machine. An
alternative is that the class files might be translated on the user’s machine into
native machine code using a Just-In-Time (JIT) Java compiler.
   It is clearly advantageous for the Java class files to be made as small as possible.
The smaller the file, the shorter the transmission time to deliver the file to its
destination. If the user is being charged for connect time or for the number of data
packets delivered, then smaller files would also have an economic benefit. Trans-
mission of a class file in a compressed format and decompressing the file on the
user’s machine should improve overall performance provided that the decompression
process consumes reasonable amounts of computation, and does not occupy excessive
amounts of main memory.
   There are many general purpose data compression programs which could be used
to reduce the size of a Java class file. Some examples of widely available compression
programs are gzip, zip, and compress.3 However, they tend not to be as effective
on Java class files as on file formats. The reason is that these compression programs
work by finding repetitions and by coding the repeated patterns of data in an efficient

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CCC 0038–0644/98/121253–16$17.50                                      Revised 19 March 1998
 1998 John Wiley & Sons, Ltd.                                         Accepted 17 April 1998
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 84 of 101


1254                       r. n. horspool and j. corless
manner. The longer the input, the more opportunity there is for finding repetitions
and the better the compression usually becomes. Unfortunately, a typical class file
for a Java program is quite short, perhaps just a few hundred bytes in size, and the
file is organized into several sections. Each section contains data in a different
format. It is unlikely that the data in one section of a class file will repeat any
patterns of bytes encountered in a previous section of the file. Given the short size
of a class file and the fragmented nature of each file, a general-purpose compression
algorithm has too little opportunity to adapt to a class file section before the end of
that section is reached.
   There has been some work on compression methods that are specifically targeted
to executable files or tuned for such files. Recently, Ernst et al.4 reported a
compressed ‘wire’ representation that reduces SPARC code to 21 per cent of its
original size. However, as we will argue, their techniques would be relatively
ineffective on Java class files because of their small size. Yu’s5 approach achieves
excellent compression on executable files and is well suited to its main task of
compressing software that is being distributed on floppy disks. It too benefits from
having reasonably large quantities of data to compress and would also be ineffectual
if applied separately to small files like the Java class files. Yu’s algorithm is based
on LZSS3,6 with a non-greedy matching heuristic and, in that regard, is similar to gzip.
   If we wish to achieve good compression on Java class files, the only realistic
approach is to develop a compression program which has been customized to the
Java class file format. Such a program would waste very little time adapting itself
to a particular file and would be able to achieve some compression on even the
smallest files.
   In this paper, we report on a compression/decompression program named clazz
which was developed specifically for Java class files. Our program outperforms both
gzip and bzip27 by a wide margin. The bzip2 method is close to being the best
available general-purpose compression method for text files. Detailed information
about the clazz program and the experimental methodology is available in the second
author’s MSc dissertation.8
   The following sections of this paper provide an overview of the Java class file
structure, then explain how we developed a customized compression method, and
finally report on how well our method works on a collection of class files.


        STRUCTURE OF JAVA PROGRAMS AND JAVA CLASS FILES
A Java program could comprise a stand-alone application program or an applet to
be invoked from a web page. In either form, the program will have been constructed
as a collection of Java classes. It is a requirement of some of the standard Java
compilers that each class declared as ‘public’ must be compiled separately. In effect,
a Java source code file should contain a declaration of exactly one public class plus,
optionally, some declarations of private classes. Each source code file is translated
by the compiler into a so-called class file. For example, if an application program
is constructed from source code files named Main.java, One.java and Two.java then
the compilation command

          javac Main.java One.java Two.java
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 85 of 101


                          compression of java class files                          1255
using Sun’s JDK implementation on a Sun workstation will create three files with
the names Main.class, One.class and Two.class.
   A group of related class files may be stored together on the computer’s hard drive
as a package. It is a common practice to use zip file format9 for this collection of
files, thus making it simpler to treat a package as a single entity while also saving
disk storage. The Java Archive (JAR) format also provides a mechanism for grouping
class files into a single entity for shipping over a network connection. It too is
based on the zip file format, although the capability of compressing members of the
archive does not appear to be used by Sun when distributing their class file libraries.
If the compression capabilities of the zip file or JAR file format are used, it should
not be forgotten that the zip file or JAR file is constructed from independently
created class files, and that individual class files can be extracted from the collection
and used. The files are compressed independently in order to facilitate extraction
and replacement of a single file. Consequently, no benefit to compression performance
is obtained by combining several small files into a single archive.
   A Java program is normally executed by invoking the Java interpreter, specifying
to it the class file where execution is to begin. A less common alternative, but one
that is growing in popularity as JIT compiler technology develops, is to translate
the bytecode of each method into native code when it is invoked for the first time.
For a stand-alone application, execution begins at a standard method named main;
for applets, the class file has to implement other standard methods. While the
program executes, it will occasionally make a reference to a class type defined in
another file and which has not been previously accessed. In this case, the correspond-
ing class file must be dynamically loaded before execution can continue. For a
program invoked as an applet from a web browser, dynamic loading will typically
require that the class file be fetched from a host computer elsewhere on the network.
   Regardless of the architecture of the client computer where the Java program is
to run, a class file always has the same format. The instructions in the class file
are instructions for a Java Virtual Machine (JVM).2 The client computer would
execute the class file either by using an interpreter for the JVM or a JIT compiler.
However, to maintain architecture neutrality, JIT translation is performed on the
client computer. The class file is in the standard format and not in native code form
when it is fetched over the network.
   A slightly simplified picture of the overall layout of a class file is shown in
Figure 1. What should be observed from the picture is that the class file is organized
as a series of sections. One section in particular, the Methods Section, is itself
organized as a series of method entries, where each entry is itself subdivided into
sections. We explain the structure of some of the more important sections below.

The Constant Pool
   Constants occurring in a Java source code file are converted by the compiler into
entries in the constant pool. The compiler may also create many additional entries
for constants which do not explicitly appear in the source code but which are needed
at execution time. As represented in a class file, each entry in the constant pool
consists of a tag byte followed by a group of bytes that contain the value of the
constant. For example, a UTF8 string constant containing 10 characters would be
stored as a 13-byte entry in the constant pool. The first byte is a tag with value 1,
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 86 of 101


1256                     r. n. horspool and j. corless




                              Figure 1. Class file layout



the next two bytes hold the string length, and the following 10 bytes hold the
characters of the string constant.
  The constant pool produced for the small sample program of Figure 2 is shown
in Figure 3. Each entry is written as a tag name followed, in square brackets, by
the additional information required for that tag.
  The relatively large size of the constant pool compared to the original program
should be noted. Many field names, class names, and type signatures are included
as character strings.




                          Figure 2. A sample Java source file
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 87 of 101


                         compression of java class files                        1257




                             Figure 3. Constant pool entries


The Methods Section
   Each entry in the Methods Section is a variable-length structure that describes
one method in the class. In addition to some information about the class (its name,
access permissions, etc.), the entry normally contains both a Code attribute and an
Exceptions attribute. The Code attribute contains an array of the bytecode that is to
be interpretively executed by the JVM when this method is invoked. It also includes
a table providing information about exception handlers in the code and, potentially,
a LineNumberTable and a LocalVariableTable which would enable a debugger to
relate the bytecode and the local variables of the method to its source code. The
Exceptions attribute is normally small.

          A COMPRESSED ‘WIRE’ REPRESENTATION FOR JAVA?
A recent paper4 describes an approach that compresses intermediate code from the
lcc C compiler to as little as 21 per cent of the corresponding executable code for
the SPARC architecture. This is a compression rate of 4·9 to 1. At first sight, it
would appear that a similar approach should be effective for Java. The Class file
format is similar in nature to the intermediate code, or IR code, generated by the
front-end of a conventional compiler.
   The ‘wire’ format for C code is explained in Ref. 4. It is based on a heuristic
tree pattern matching method for compressing IR code that is described in Ref. 10.
It involves splitting the sequence of tree patterns into separate streams and then
applying three different compression methods to the streams—Move-To-Front enco-
ding, Huffman coding and gzip compression.
   If we were to develop a similar approach for Java, we would need to re-engineer
the Java compiler so that it generates trees instead of the linearized byte code and
 Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 88 of 101


1258                        r. n. horspool and j. corless
where constants appear as leaves in those trees instead of having been separated out
into a special Constants section. In principle, it should be possible though inefficient
to construct such trees from the information in the Class file.
   The reason why we consider such an approach to be unappealing however is
provided by the compression results reported in Ref. 4. These results are reproduced
in Table I. As can be seen, wire format achieves its reported 4·9 to 1 compression
ratio only on the largest file. For the smallest of the three files reported in the
paper, the compression ratio is worse than that produced by gzip. This file has an
uncompressed size of 60 KB, which is already much larger than the average for
Java Class files. Consequently, we conclude that a Java wire format would rarely
achieve better compression than gzip. The tailored approach that we have developed
invariably achieves better compression than gzip.

        DEVELOPING A TAILORED SOLUTION FOR JAVA CLASS FILES
Our review of the structure of the class file should have brought out the importance
of the constant pool section. First, every class file will almost necessarily include
many ‘standard’ character strings containing names and type signatures for methods
in the Java class libraries. These strings will have a major influence on small class
files, and the class files in package libraries do tend to be small. Second, the other
sections of the class file all contain indexes into the constant pool. The net result
is that the constant pool occupies 50–90 per cent of the entire file size when
measured on a test collection of about 1000 class files. A chart that shows the
contributions of the constant pool to the total file size is shown in Figure 4. The
chart should be read as follows: the height of the column centred around 0·7, for
example, represents the number of class files in our collection where the constant
pool occupied between 65 per cent and 75 per cent of the whole file, i.e. 380 of
our 1000 class files had constant pools that represented between 65 per cent and 75
per cent of the whole file.
   Another important observation is that character string constants dominate the
constant pool. These are strings represented in the UTF8 format. Each string is
represented by a two-byte length immediately followed by the bytes that comprise
the string constant. Together, the string constants account for about 40–80 per cent
of the entire file size. Figure 5 graphically shows the size contribution fo UTF8
strings to the overall class file size. It should be abundantly clear that a good
compression scheme for Java class files would have to perform well on UTF8
constant strings.
   After the constant pool, we found the next most significant component of the
class file to be the code attribute. Figure 6 shows the contribution of bytecode to
the overall class file size in our experimental measurements.
                  Table I. SPARC code compression reported by Ernst et al.

Executable file     Original size            Gzipped size              Wire code size

lcc                   315,636                 75,928                    64,475
gcc                 1,381,304                380,451                   287,260
agrep                  61,036                 15,936                    16,013
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 89 of 101


                          compression of java class files                       1259




                     Figure 4. Distribution of constant pool contributions




                 Figure 5. Distribution of UTF8 string constant contributions


   The third most important component of the class file is the LineNumberTable
Atribute. It is not necessarily present in a class file because it is needed only for
debugging and error reporting. If the table is present, it holds one entry for every
time the line number of the corresponding source code changes when making a
sequential scan through the bytecode array. Its size should be roughly proportional
to the bytecode array size.
   The other components of the class file did not make significant contributions to
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 90 of 101


1260                       r. n. horspool and j. corless




                     Figure 6. Contribution of Bytecode to class file size

overall file size in our experimental measurements. We therefore do not consider it
necessary to provide tailored compression schemes for them.
   A general compression program such as gzip is lossless in the sense that a
decompressed file will be identical to the original file. A key observation is that a
compression program for Java class files does not need to be perfectly identical to
the original. It is good enough if the decompressed file executes in the same way
as the original. That is, we only need to preserve semantic equivalence and not textual
equivalence between the two files. For example, one of our biggest improvements to
space efficiency comes from reordering the constant pool. As long as all indexes
into the constant pool are adjusted to reflect the new order, the bytecode should
execute in exactly the same way as before.
   We note that re-ordering the constant pool may cause the bytecode component of
the class file to increase in size. This is because the LDC (load constant) instruction
has an operand which is a one byte index into the constant pool. If re-ordering
should cause a constant used as an operand of LDC to move out of the first 256
positions in the constant pool, then the wide form of the instruction, LDC W, must
be used instead and that occupies more memory. However, the risk is worth taking.
In our experiments, the effect was observed only rarely and caused only tiny
increases in the size of the decompressed file.
   We now explain our transformations on the significant parts of the class file.

Constant Pool Entries
  Our initial transformation is to reorder the entries of the constant pool so that all
entries of the same type are grouped together and so that UTF8 strings are sorted
by their lengths. The result of this reordering on the example constant pool of
Figure 3 is shown in Figure 7.
  There are three important benefits from the reordering. First, we no longer need
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 91 of 101


                          compression of java class files                         1261




                          Figure 7. Reordered constant pool entries


to associate a tag byte with each entry when outputting the constant pool in its
compressed form. The decoding program needs to know only how many entries
there are of each type in order to reconstruct a constant pool that contains the
proper tag bytes. Thus, the compression program outputs a simple count of how
many entries there are of each type before outputting the entries of that type. We
used a start-step-stop code with parameters (1, 3, 16) to encode the count. (Start-
step-stop codes are variable-length codes where small integers are encoded in a few
bits while larger integers require more bits for their encoding. The scheme is
explained in more detail below.) Since there are so few counts to encode in each
class file, the choice of the particular encoding scheme is not critical.
   The second benefit comes from encoding constant pool entries that contain
references to other constant pool entries. For example, an entry of type Fieldref is
normally coded as a tag byte followed by two 16-bit indexes. The first index always
references a constant pool entry of type Class and the second always references an
entry of type NameAndType. Since our reordered constant pool has grouped all the
Class and NameAndType entries together, we can replace the first index with a
number that represents the position within the group of Class entries, and similarly
for the second index. These relative indexes will almost always have much smaller
values than the original index numbers and we can therefore encode them using
fewer bits. We encoded each index into the group of Class entries using a fixed-
length binary code with logNClass bits, where Nclass is the number of entries of type
Class in the constant pool.
   The third benefit is that reordering the UTF8 strings into order of increasing
length means that we can encode the string lengths in a more efficient manner. If
we look at an arbitrary string constant, other than the first, in Figure 7, we can see
that its length is almost always identical to the length of the preceding entry or is
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 92 of 101


1262                        r. n. horspool and j. corless
only very slightly longer. In other words, if we encode the length of a string as the
difference between its length and that of the preceding string, we will be encoding
much smaller numbers. Encoding differences rather than the values themselves is
known as delta coding. Since a typical class file contains relatively many string
constants, it is worthwhile to devise a scheme for encoding the deltas (differences)
as efficiently as possible. To that end, we determined the distribution of string length
deltas for our collection of class files. We then determined which start-step-stop
code matched that distribution best. The result is shown in Figure 8. The solid line
shows the distribution of delta values; the dashed line shows what the distribution
should be to perfectly match the (0, 1, 16) start-step-stop code that we picked as
being the closest match.
   After extracting and encoding the length prefixes, the group of string constants
becomes a block of text that contains a substantial amount of repetition. (Observe,
for example, the repetition of the substring ‘java’ in Figure 7.) This block of text is
well-suited for standard text compression algorithms. For convenience, we used the
ZLIB library functions11,12 to compress the text. ZLIB implements the same com-
pression algorithm as used in gzip, a method that is very similar to the deflate
compression method supported in the zip file format.9 The maximum compression
option for ZLIB/deflate was used here, as in all our uses of this compression method.
   Other kinds of entries in the constant pool, such as integer or floating-point
constants, occurred so infrequently in our sample files that there was very little
benefit from devising special coding schemes for them. We therefore left their
representations unchanged.




                         Figure 8. Distribution of delta string lengths
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 93 of 101


                          compression of java class files                          1263
Code Attribute
   The bytecode part of the class file contains the patterns of JVM instructions
generated by the Java compiler for the constructs in the source program. Unless the
compiler is sophisticated and optimizes these patterns extensively, there will necessar-
ily be repetitions of the coding patterns. However, we were unable to find a fast
and effective way to exploit these patterns. It would be easier and preferable for
the compiler to generate such patterns in a compact form directly, rather than having
to rediscover the patterns by analyzing the bytecode. Such is the approach of the
Slim Binaries format of Kistler and Franz.13
   In keeping with our desire to preserve the existing bytecode format, we chose to
perform only two simple transformations on the bytecode and then apply the ZLIB
compression algorithm11,12 to it. The first transformation was to separate the opcodes
and the operands into two separate arrays. By separating out the opcodes, any
repeated patterns of opcodes will become apparent and amenable to compression by
a general-purpose method.
   The second transformation concerned operands of branching instructions. The
operands of branching instructions are the addresses of other instructions in the
bytecode array for the method being executed. They are normally implemented as
2-byte offsets. For example, if index positions 103–105 of the array hold the
ifnonnull branching instruction, and its target is an instruction at index position 124,
then bytes 103 and 104 will hold the value 21 (computed as 124–103). Such a
representation is redundant because not every position in the bytecode array represents
the start of an instruction—many JVM instructions occupy two or more bytes. We
eliminated the redundancy by replacing byte-offsets with instruction-offsets in our
compressed file format.
   Following the re-encoding of all instruction-relative offsets, we separately compress
the two arrays created from the bytecode using the ZLIB routines.

LineNumberTable Attribute
   Each entry in the LineNumberTable contains a code array index and a correspond-
ing source statement number. The indexes can only refer to the starts of JVM
instructions. Therefore, space can be saved by converting these indexes into instruc-
tion numbers. Further compression is achieved by using delta coding. Both the
instruction numbers and the statement numbers form slowly increasing sequences in
our collection of sample class files. Presumably a sophisticated Java compiler could
re-order code and thus break the property that statement numbers only increase
through the code array; however, statements would be likely to be moved in groups
and delta coding would still achieve good results. We used (2, 2, 16) start-step-stop
codes for both the instruction number differences and statement number differences.

Start-Step-Stop Codes
   We make extensive use of start-step-stop codes6 to encode various kinds of
integers in our compressed class files. Such codes have the general property that
small integers receive shorter codes than large integers. The codes are generated in
a systematic manner that permits rapid conversions between an integer and its
encoded representation.
 Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 94 of 101


1264                         r. n. horspool and j. corless
   The codes have three parameters which control the range of integers that can be
represented and the rate at which the bit string encoding grows in length. The
encoding would be optimal if the range exactly matches the range of numbers that
we need to represent and if the number of bits used to encode an integer k is
logarithmically related to the frequency with which k needs to be encoded. That is,
if len(k) is the number of bits used to encode k, and if Freqk is the frequency of
occurrences of k, then we would desire that

          len(k) ⫽ ⫺log(Freqk)

should hold. In practice, we can only choose a start-step-stop code that approximately
matches the frequency distribution. Huffman coding6 will usually produce better
compression, but the compression and decompression algorithms are more compli-
cated and require that a coding table be provided.
   The underlying number representation used by a start-step-stop code is the usual
binary. However, the encoder and decoder must agree on how many bits comprise
the binary number. Rather than using a fixed, predetermined, number of bits, the
start-step-stop code prefixes the binary number with a code that specifies the number
of bits in the binary part. This prefix code is implemented as a unary number; unary
being a scheme that can be decoded without knowing the number of bits in advance.
For example, the unary code for the integer 5 is 111110, constructed as five 1-bits
and terminated by a 0-bit. If the unary number is m, then the number of bits in the
immediately following binary part of the code is a + b ⫻ m where a is the start
parameter and b is the stop parameter. The stop parameter c is the maximum value
that the unary prefix is allowed to encode. Knowledge of this value is used to
optimize the way in which the unary code is written (its final 0 bit can be safely
dropped). As an example, the table of start-step-stop codes for (1, 2, 5) coding is
shown in Table II. To make the codes easier to interpret, the prefix part of each
code is underlined.

                             EXPERIMENTAL RESULTS
A C implementation of our tailored compression approach was programmed. We
named this program clazz. Compression results for some representative class files


                             Table II. (1,2,5) Start-Step-Stop codes

Integer             Code                           Integer             Code

0                   00                              8                  10 110
1                   01                              9                  10 111
2                   10 000                         10                  11 00000
3                   10 001                         11                  11 00001
4                   10 010                         12                  11 00010
5                   10 011                         %                   %
6                   10 100                         40                  11 11110
7                   10 101                         41                  11 11111
 Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 95 of 101


                               compression of java class files                                    1265
                       Table III. Compression results for representative class files

File                        Original size      ZLIB deflated size       bzip2 size       clazz size

AudioClip.class                233                184                      225               95
Component.class             24,622             11,154                   11,269           10,050
Enumeration.class              261                203                      254              107
HashTableEntry.class           630                404                      458              229
Integer.class                3,733              1,919                    2,113            1,610
Object.class                 1,452                787                      923              576



are shown in Table III. In this table, we compare the compression of our clazz
program against two general-purpose text compression programs—the deflate method
of the ZLIB library (with maximum compression selected as an option) and bzip2.
The ZLIB program is relatively fast and could therefore be considered as a good
candidate for compressing Java class files. In this table, we show the results for
some of the largest files as well as for some of the smallest files. We can observe
that ZLIB and bzip2 perform better on large class files but quite poorly on small
files, where they have little opportunity to adapt to the file characteristics. Our clazz
program, on the other hand, achieves significant compression for all file sizes and
always outperforms both competitors. Its better performance with small file sizes
is marked.
   Compression results for two collections of class files are shown in Table IV. Both
class file collections were taken from the Metrowerks Codewarrior distribution. The
first 50 classfile members of the Swing/Rose library and the first 128 members of
the standard Java class library were used. The files were compressed separately.
Again, clazz outperformed the ZLIB deflate method and bzip2 by a significant
margin. Expressed as compression ratios, clazz is achieving a reduction to 35–38
per cent of the original size, versus 46–51 per cent for ZLIB and 51–56 per cent
for bzip2.
   Since the clazz program applies a variety of compression methods to different
components of the class file, it is interesting to observe how well each component
is compressed. We observed the following:
   쐌 Tag bytes attached to entries in the constant pool accounted for 2–6 per cent
     of the size of our sample class files. Our reordering of the entries and replacing
     the tags with counts, using start-step-stop codes, reduced the contribution of
     tags to insignificance.

                       Table IV. Compression results for collections of class files

Library                                                       Average Sizes (in bytes)

                                            Original file   ZLIB/deflate   bzip2         clazz

50 members of Rose class library            4047·2          1881·8         2063·6        1431·5
128 members of MW class library             2405·5          1221·9         1354·7         920·6
 Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 96 of 101


1266                             r. n. horspool and j. corless
   쐌 The length fields of UTF8 strings were reduced from 2 bytes to an average of
     2·7 bits, i.e. to 17 per cent of their original size.
   쐌 The entire constant pool was reduced, on average, to 31 per cent of its original
     size, even though we made no attempt to compress entries for integer constants
     or floating-point constants.
   쐌 A simpler method to compress the constant pool would be to reorder the entries
     and remove the superfluous tag bytes, as explained above, and then apply the
     ZLIB compression routine. This achieves somewhat worse compression than
     that produced by our more complicated approach. For example, the file
     Integer.class which is compressed to 1610 bytes with our method would be
     compressed to 1761 bytes instead. We consider this difference to be worth the
     price of the more complicated method.
   쐌 Our attempts to compress the bytecode arrays were successful only for larger
     class files. In many cases, methods contained fewer than 20 bytes of bytecode.
     On average, each method had its bytecode reduced to 59 per cent of its original
     size. The best compression, observed for those methods with the most bytecode,
     reduced the bytecode to 26 per cent of its original size.
   쐌 The LineNumberTable attribute, when present in the class file, was compressed,
     on average, to 33 per cent of its original size. (Production code would not
     normally contain this attribute.)
   쐌 Reordering the constant pool and making corresponding changes throughout
     other sections of the class file indeed has no effect when executed by the JVM.
     Spot checks with several files yielded no discernible difference in behaviour at
     execution time.
Execution times for compressing and decompressing representative class files are
shown in Table V. All times are measured in seconds and were obtained with a
120 MHz Intel Pentium CPU. Compression times are quite competitive with the

                       Table V. Execution times for compression and decompression

File                           Size (bytes)                     Execution times (in seconds)

                                                 ZLIB/deflate        bzip2            clazz

AudioClip.class                   233            0·049               0·577            0·049
                                                 0·019               0·385            0·025
Component.class                24,622            0·368               1·340            0·338
                                                 0·088               0·577            0·370
Enumeration.class                 261            0·052               0·538            0·052
                                                 0·024               0·373            0·025
HashTableEntry.class              630            0·053               0·563            0·058
                                                 0·026               0·376            0·030
Integer.class                    3,733           0·105               0·747            0·103
                                                 0·032               0·417            0·070
Object.class                     1,452           0·057               0·598            0·067
                                                 0·026               0·381            0·037
Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 97 of 101


                                compression of java class files                                     1267
ZLIB library, while decompression times are only a little worse. Our timings could
undoubtedly be further improved with a more careful implementation. We observe
too that the decompression time could be greatly reduced by integrating decom-
pression with the Java class loader. One reason is that our compressed format has
eliminated the need for one step of the bytecode verification process that is performed
before the bytecode is executed. The verifier must check that every branch address,
every entry point and every exception handler begins at the start of a bytecode
instruction. Our compressed file format guarantees that this property must hold. A
second reason is that the decompression program re-constructs the class file as an
organized collection of data structures in memory as an intermediate step. This is
work that the class loader would also perform.

                                   CONCLUSIONS
The class file compression strategy, implemented as the clazz program, achieves
much better compression than general-purpose compression programs while retaining
full compatibility with the JVM architecture. A key insight is that the reconstructed
file does not need to be identical to the original—it need be only semantically
equivalent. Our implementation is not as fast as the competing compression programs,
but that issue could be alleviated or eliminated if we were to re-implement the
program more carefully and if we could combine the decompression code with the
Java class loader.
   A longer term and more drastic way of achieving greater compression would
involve a complete re-design of the class file structure of the JVM instruction set.
The slim binaries proposal,13 for example, provides a very compact alternative format
for bytecode along with the constants used in that code. Yet another possibility
would be to design a new JAR file format where members of the archive share a
common string constants table. Class files belonging to the same package typically
duplicate many string constants, representing member names and method signatures.
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Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 99 of 101




                       Exhibit F
          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 100 of 101




                            PARTIAL PROSECUTION HISTORY SUMMARY

          U.S. Patent No. RE38,104 (“the ‘104 patent”) is a continuation of reissue patent

application Ser. No. 08/755,764 (now U.S. Patent No. RE36,204, “the ‘204 patent”), which was

a reissue of U.S. Patent No. 5,367,685 (“the ‘685 patent”). ‘104 patent, first page, 1:9–11. This

summary focuses on the use of the term “computer-readable medium” and is arranged

chronologically starting with the application that issued as the ‘685 patent.



                                              ‘685 Patent

          Dec. 22, 1992: The original patent application was filed listing ten claims directed to, a)
“a method for generating executable code,” and b) “an apparatus for generating executable

code.” ‘104 patent, first page, 1:9–11, Ex. B-2, OAGOOGLE0000057197–99. None of these

claims included the term “computer-readable medium.” Id.

          May 26, 1994: An Examiner interview was conducted with a summary submitted by the

Examiner stating: “changes made as per Examiner Amendment.” Ex. B-2,

OAGOOGLE0000057220.

          May 26, 1994: The Examiner issued a Notice of Allowability along with an Examiners

Amendment adding an “s” to the word “instruction” in independent claim 1 and deleting the last

two lines of dependent claim 10. Ex. B-2,OAGOOGLE0000057222.

          Nov. 22, 1994: The ‘685 patent was issued by the USPTO. ‘104 Patent, first page.



                                              ‘204 Patent

          Nov. 21, 1996: An application was filed seeking a broadening reissue of the ‘685 patent.

‘204 patent, first page. The reissue application contained new claims, including claims 29–34,

which recited the term “computer-readable medium.” Ex. B-2, OAGOOGLE0000059223.

          Sept. 24, 1997: The Examiner issued an Office Action rejecting all claims of the reissue

application because “[t]he reissue oath or declaration filed with this application is defective

because it fails to particularly specify the errors and/or how the errors relied up on arose or


1247372
          Case 3:10-cv-03561-WHA Document 97 Filed 03/17/11 Page 101 of 101




occurred as required under 37 CFR 1.175(a)(5).” Ex. B-2, OAGOOGLE0000059222–24.

          Apr. 27, 1999: The ‘685 patent was reissued as the ‘204 patent without amendment to

claims 29–34 added on Nov. 21, 1996.



                                            ‘104 Patent

          Mar. 3, 1999: A continuation application was filed based on the still pending reissue

application (which issued as the ‘204 patent). ‘104 patent, first page. A preliminary amendment

was filed with the continuing reissue application. The preliminary amendment cancelled all

existing claims and added new claims 36–43, of which claim 36 recited the term “computer-

readable medium.” Ex. B-3, OAGOOGLE0000059421–25.

          Apr. 29, 2003: The ‘685 patent was again reissued as the ‘104 patent, including claim
12, which recites the term “computer-readable medium.” ‘104 patent, first page, 7:15–28.




1247372
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